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the ancillary analyses that was
performed.

Q. This is an analysis on study
090; correct?

A. Study 090, but not on death,
heart attack and stroke.

Q. I'm going to
numbers for October 25 of 2004.

Tm ui ob J Moke

on ni ew hw PB

—Easey 158
A. Okay.
Q. And you ask Ms. Goormastic
at the bottom, "Can you or someone run
this and get back to me, the p values,
RR, 95% CI?" Do you see that?
A. Yes.
Q. What you are asking her to +

do -- a p-value is a test for statistical

A. These numbers do not
© correspond to death, heart attack and
11. stroke.
12 @. Lunderstand that,
13 A. Okay. Well, I don't know
14 what you're writing down because you're
15 comparing apples and oranges now.

16 Q. 7 events on Vioxx,

17 A. They're different events.

18 MR. KLINE: Are you going to
19 making a chart that's going to be

20 displayed?

21 MR. GOLDMAN: All I'm doing
22 is trying to keep track of the

23 numbers, that's all.

16 using here on October 25 have to do w ith
1? the numbers of Vioxx patients who had to
18 be discontinued in the 090 study; right?
ig A. With serious cardiovascular

20 adverse events, different than death,

21 heart attack and stroke, That's a

2 different table.

3 Q. Sa, the numbers that you

2 have are 7, land 1.

240 MR. KLINE: But for yourown
1 benefit?
2 THE WITNESS: You're making
3 a table of evenis, of different
4 types of events. These are events
5 that are requiring cessation of
6 drug with serious
7 cardiovascular -- I'm more focused
& on my letter in the New England
g Joumal and what I'm talking about
16 with 60 Minutes and those things
11 you're interested in on death,
12 heart attack and stroke, and
13 they're different numbers.
i4 BY MR. GOLDMAN:
15 Q. . The numbers that you're

Page 487°

oO

Do you see that. sir?

significance; correct?

A. Yes. Yes.
Q. Relative risk is RR?
A. Yes.

Q. And Cl is confidence
interval, and that's another test for
statistical significance; correct?

A. Yes.

Q. Ms. Goormastic writes back
to you that same day above and says "The
chisquare," that's a type of statistical
test, correct, "including all 3 groups is
p equals .06,” and then here's the answer
io your question: “For Vioxx versus
nabumetone chisquare" p-value is ".03."

Page, i239

A. Yes. [see that, but again,
i's not related to my principal
interest.

Q. The .03, just so the jury
can understand and I can understand, if a
p-value is less than .05, that means that
it’s statistically significant, the
result; correct?

A. That's 9

Q. Here, this is ; showing a
Statistically significant result for
.03; is that right?

A. That's correct, but you're
coniparing -- you don't even know what
these events are. So, you're just
looking at some numbers. You don't know
what this analysis is about.

MR. GOLDMAN: Move to strike
as nonresponsive.
BY MR. GOLDMAN:
Q. The next line says -- } b—
MR. KLINE: How cat you
possibly say that? How can vou

possibly say his answer is

123 (Pages 46€ wo i8F!

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Page 430 Page 69
i nonresponsive? . 1 not allowed me to do that.
2 BY MR. GOLDMAN: 2 MR. GOLDMAN: Move.to\trike
3 Q.  -- relative risk. Do you as nonresponsive.
4 see you wrote “Relative risk for Vioxx is [7ty MR. GOLDMAN:
5 7" ~- Tm sorry, this is what Ms. 5 Q. The reason that Ms.
6 Goormastic wrote -- "is 7." And then you & Goormastic is puzzled, Dr. Topol, is
? have a confidence interval here that she 7 because one test shows that there's no
S_aurites "9-569" Do vou see that ip 8 statistically significant difference, and
39 the parenthesis? , 2 another test shows that there is;
10 A. Yes. ;20 correct?
11 Q. And if the confidence -a1 A. But it's not on the events
12 interval that is described there includes '12 of interest, Mr. Goldman.
13 the number 1, that is, if one falls /13 Q. I'm not asking about the
14 within .9 to 56, that means that the '14 events of interest.
15 result is not statistically significant; P15 You wrote the e-mail here.
16 correct, sir? '16 Sir, you wrote an e-mail to your
1? A. That's correct. :17 statistician in Octeber of 27004 because
18 Q. So, Ms. Goormastic writes: ‘18 you thought that this answer was
ig “J was puzzled why this confidence .192 important. Is that true?
29 interval covers 1 when the p-value is “20 A. No. This is not the e-mail
21 less than .05. I think it's due to the .21 ofimportance. You've picked this
22 small number of events" used. Do you see -22 e-mail. There are other e-mails that are
23 that? 3 considerably more important with my
24 AL Yes, Ido, 24 | statistician, and you just picked this _

Page}491 Page 4

Q. You had talked about the one.
small number of events in your JAMA Q. We'll get to that one, sir.
article; right? A. Okay.

A. That's correct.

Q. Then she says, “When I ran a
logistic regression model" that's another
way of calculating statistical
significance, right, "I got very similar
results, a relative risk of 7.1,” and

Q. When you received this
e-mail from Ms. Goormastic, it wasn't
clear to you, sir, whether there was a
statistically significant difference or
not as reflected in Ms. Goormastic's
e-mail: correct?

10 then the confidence interval there covers A. That really was not my

12 1. Correct, sir? focus. I see what you're saying here,

1 A. That's correct, but that was not my concern. The events
1 Q. Ms. Goormastic is telling here for death, heart attack and stroke

14 you that she's puzzled because she is were unclear. This is not what this

15 seeing with one test there's a refers to.

16 statistically significant difference and Q. What time did vou write this

17 with another one there's not? e-mail]? I'm sorry, what time --

1 A. Yes, but this is really an withdrawn.

What time did Ms. Goormastic
write her e-mail to you on October 25,
2004?
A. She wrote that at 4:42 p.m.

munaterial look at the data. It's not on
death, heart attack and stroke. And it's
not with the final review of the events,
as you've not allowed me to go through
patient by patient of study 090 from
Table 32 in the Targum report. You've

MOV OTA bee oO OW Nb WM

ew Me Ow @ Aub Whe OO OA BL hb

BoM NB Re eR PPP Pe ee
diy hal

fh 3 BS Boo Bo Fe

(Whereupon, Dépésition

124 (Pages 490 to 433)
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tab RP Fe

wom 4] mM Ui de

10

Exhibit Topol-42, E-mails, EJT
000192, was marked for
identification.)
BY MR. GOLDMAN:
Q._ I'm going to show you an
e-mail that I've marked as Exhibj
This came from your files, Dr.

puzzled and about there being no
statistically significant difference with
respect to the confidence interval? You
changed that and wrote that there was a
statistically significant difference?

A. Where is that?

Q. Do you see in your e-mail to
60 Minutes after you say "Great news.

Want fO TOCcus on

A

This is an e-mail from you to Michael
Radutsky?

A. Radutsky.

Q. Who is that?

A. He's the producer for CBS 60
Minutes.

Q. What time did you write this
e-mail to the producer of 60 Minutes?

A. 14 minutes or so later.

Q. You wrote this e-mail to 60
Minutes at 4:46 in the afternoon,
correct?

A. Right.

Q. You received an e-mail from

earlier; correct?

A. That's right.

Q. And you write to 60 Minutes,
"Michael, Great news on the Statistics
for Study 090. The difference between
Vioxx and nabumetone is significant, P
equals .03." And then you continue. Do
you see that, sir?

A. Tsee that. That's not the
end of the story here, though.

Q. You forwarde

A. You just have an ice pick
view of this interaction.

Q. Dr. Topol, you forwarded --
do you see the forward "FW" in the
subject line of your e-mail to 60
Minutes?

A. Yes,

Q. ‘You forwarded the e-mail
that Ms. Goormastic sent to you, correct,
sir?

A. Yes, yes.

Q. But you didn't include what
Mfs. Goormasiic said to vou about being

fa BGO OR be be et BA pp be ope Rp

CW ANAK BWM Pe

Mow fo a oy un de da Ba pe

lal AF OR

aL

The titteretice Derreen ViOk® aid
nabumetone is significant" and you cite
only the p-value. Do you see that, sir?

A. Yes.

Q. You didn’t tell 60 Minutes
in that e-mazl that your statistician was
puzzled about these numbers, did you?

A. They were not final numbers.
As I already indicated you, these were
not the final numbers for death, heart
attack and stroke. And so I will take
the opportunity to amplify here because
you're trying to take thts down the wrong
path. On October 25th, the data were
inconclusive because we did not have a

chance to learn about these events in the

age

Targum table, these patients on death,
heart attack and stroke. They were not
reviewed. I did not have the details of
any of those patients. So, these events
that we're looking at were not the
interested field of cardiovascular
endpoints of deaths, of all cause, heart
attack and stroke.

Q. You found it important
enough to write to 60 Minutes four
nunutes after your statistician wrote to
you to tell them about what you thought
was great news, and you characterized --

A. This was the beginning of
the analysis, only the begmning.

Q. Do you see that 60
Minutes --

A. This is a work in progress,
and you're just taking one part of that
work.

Q. Do you see that 60 Minutes
writes back to you on the top and says
“Remarkable” and then continues. "So
then haw does the company ignore numbers

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Q. Did you ever write back to
weeded Liber atic) oa that Sat statistician

9 told you that under another test there
10 was no statistically significant
11 difference for 090?
12 A. I discussed this extensively
13 with Michael Radutsky on the phone, and I
14 told him that we needed -- before this
15 could be wrapped up and before I could
16 make any statements about study 090, I
17 needed te have all the information
18 regarding the patients with events,
19 putative events of this trial, which I
20 didn't have at this time. So, these data
21. did not -- again, I've said it at least
22 three or four times. These data did not
23 reflect the final categorization of
24 death, heart attack or stroke for study __

090, and it was becoming increasingly
clear now we're in. 2004, we're now five
: 9 years into this whole story, and this
/10 trial has never been published. And we
:11 never ran the stats in the JAMA paper.
°12 We never actually did the statistics on
/13 090 or 085. We didn't spend enough time
-14 going into the details of this, and then
‘15 it became apparent that there were
_16 miscategorizations when this was
‘17 carefully reviewed.
‘18 Q. You said in your JAMA paper
19 that the numbers were too small for
-20 meaningful comparison for 090. Isn't
“21 thatnght, sir?
22 A. They were not statistically
°22 significant, but they were
:24 _mischaracterized. So, how can one make a

1 like that? How does that net warrant 72 Q. You told 60 Minutes that
2 further study?" Et cetera. And he say ' 2 this was great news about study 090
3 “How can they call the study ' 3 because you wanted to make Merck look
4 'statistically insignificant'?” Do you . 4 bad. Isn't that true, sir?
S see that? 25 A. All I wanted was the truth
6 A. Tsee that. ' 6 about this drug and the truth about study
7 ?
2

2 6090. 1 definite conclusion. We were working
2 ~~ Did you in your e-malro 2 with erroneous categorizauon of
3 Doctor -- I'm sorry, withdrawn. "2 endpoints.
4 Did you in your e-mail Td 7 4 MR. GOLDMAN: Move to strike
5 Minutes say that your statistician was 5 as nonresponsive.
6 puzzled? Yes or no? é Let’s take a break.
7 A. I discussed it on the phone. 7 MR. HAMELINE: Sure.
8 Q. Your testimony is that you a THE VIDEOTAPE TECHNICIAN:
9 discussed your statistician being puzzled 9 Off the record, 5:18.
10 on the phone, but you told 60 Mmutes 16 ---
11. that there was -- 11 (Whereupon, a recess was
12 A. Na. 12 taken from 5:18 until 5:28 p.m.)
13 Q.  -- there was a significant 13 - +
14 difference here? 14 THE VIDEOTAPE TECHNICIAN:
1S -A. I discussed with Michael is Back on the record at 3:28.
16 Radutsky that more work had to be dene, 16 ---
17 that we can't use any of these numbers 17 (Whereupon, Deposition
18 unul we get all the details on these 18 Exhibit Topol-43, E-mails, EJT
19 patients of this page 32 in the Targum 19 000190, was marked for
20 report. So, all this was preliminary 290 identification.)
2i work, and we still didn't have a sense of Zi ---
Z2 where we were with the death, heart 22 BY MR. GOLDMAN: Z
23 attack and stroke story. J discussed 23 Q. Br. Topol, I've handed you
2+ that with him. 24 what I've marked as Exhibit 43 --

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LL oag 502 Page 504
1 A. Yes. id Q. So, the basis for your view
2 Q._ -- which ts an e-mail, ' 2. that there are five events on Vioxx, | on
3 November 12, 2004 from you to your | 3  nabumetone and none on placebo come from
4 statistician again, and this is now two ' 4 your review of Dr. Targum's report;
5 days before you go on 60 Minutes. : S correct?
6 Correct? i 6 A. No. No. That's only the
7 A. That's right. ; 7 beginning. Then we had -- not in Dr.
£. Qo yotel Ms. Goonnastic ‘8 Tareum's report. There's a detailed
9 to-- and you say regarding 60 Minutes | 9 account of each patient and how that
10 coming up quickly, “can you run the :10 diagnosis of coronary occlusion or
11 difference between 5 out of 390 versus J '12 congestive heart failure was made. And
12. out of 588 for odds ratio, 95 percent /12 remember, the endpoint that is the
23 confidence interval, chi square and :13 principal endpoint for clinical trials is
i4 p-value." Do you see that? '14 death, heart attack or stroke, So, the
15 A. Yes. These are the same '15 final determination of these events for
16 numbers as in the New England Journal _16 study 090 was based on not just the
17 paper of December 30, 2004. °17 Targum report, but all those details that
18 Q. So, these are the numbers :18 were not available to us until we got the
19 that you say are the right numbers to '19 subsequent information.
20 analyze study 090; right? 20 Q. Now, you wrote "5 out o \
21 A. That is, before we could '21 390" and then you wrote "1 out of 588." \
22 finalize the appropriate numbers, we had 22 Do you see that in your e-mail? \ \
23 to have all the information for each ‘23 A. Yes. And that's exactly the \W
24 patient of whethertheyhadaneventor ss» - 24._—s same_as the New England Journal yw
Page 503 Face p25 :
1 not from this original table, and thts is 1 subsequent correspondence. (s
2 now where they are all properly 2 Q. The 588, which is the
3 classified for death, heart attack or : 3 denominator here, that is calculated by
4 stroke, ' 4 taking the number of patients in the
5 Q. The information that you S nabumetone group and adding them to the
6 looked at, sir, when you came up with 6 number of patients in the placebo group; =
7 your numbers, 7,1,1, oack in October, 7 correct? J
8 came from Ms. Targuim's report, correct, 8 A. Those are control groups for
9 sir? S the trial, that’s right. Thev're not
106 A. The original information, -10 experimental groups.
11 and then we got all the details of each 1i Q. So, what you did was you
12. patient subsequently. °12 took 5 events on Vioxx, and you compared
13 Q. You got the details of all 13 them to 1 event in placebo and nabumetone
14 the patients when you wrote that the °14 combined; correct?
15 numbers were 7, 1 and | -- _ 1s A. That is how this analysis
16 A. No. 16 was performed with the appropriate
1? Q.  -- in October of 2004? 17 categorization of the endpomts and the
18 A. No. We did not have the 18 statistics.
19 details. All I had was this table. 13 When you wrote your JAMA
29 There are multiple tables in the Targum 20 article, sir, on Page 955 --
24 report. I did not have the appropriate Zi A. Yes.
22 clinical history for each patient and how 22 Q.  -- you describe the events
23 the endpoint was categorized until 23 that occurred with 090 as 6, 2 and | --
23 shortly before this e-mail. 24 A. Right.
YZ? (Pages 292 ta 5

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Q.  -- and you didn’t group the
nabumetone and placebo groups, did you,
sir?

A. And that's precisely because
we had misinformation. We had atrial

fibrillation as an event which shouldn't

have been. We had congestive heart

failure, We had coronary occlusion.

Se PE be pa aMewne

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n

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wo J

20

a1 ® un eb i ND

NEP PPE ee ERP
ow ow OUR we Oo OO

hm BO
ho Ia

23

correct?

A. Correct. pBut the events are
correct now, and they are the appropriate
irrevocable endpoints of death, heart
attack and stroke and not admixed with
things like atrial fibrillation or a
chronic occlusion that had nothing to do
with a heart attack. Now we hada

which wasn't a heart attack, and it was
very clear that the more meaningful way
to analyze the trial, just as Funi had
done, would be to compare controls with
the experimental drug.
Q. When you wrote your JAMA
article and the events were 6, 2 and 1,
you wrote that those numbers were too
small for meaningful comparison; correct?
A. With the erroneous data,
they were not appropriate to make a final
judgiment.
Q. Thenumbers, 6, 2 and 1 were
so small that they couldn't be used for
meaningful comparison. Correct?
A. T wouldn't use the term

Fage 59

exactly, no. That's not the term that we
use.

Q. Well, if we look back at
yout JAMA article, page --

A. Itsays, “had few events for
meaningful comparison." “Few events."

ot

That's right.
Q. So, when “ho ae wore tee

4 -- I'm sorry, withdrawn.

When the events v ,
and | as you analyzed them in your JAMA
article for Vioxx, nabumetone and
placebo, you considered that to be few
events for meaningful comparison;
correct?

A. Weil, there was no
significant difference. So, that means
there’s no meaningful difference, yes.

Q. So now in November of 2004,
when you say the numbers now are 5 for
Vioxx, | for nabumetone and 0 for
placebo, there's actually fewer events in
your analysis from November of 2004 than
there were in vour analysis in JAMIA: Sl

Fi b+
ON Whe AW Ok we

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nul

difference of 1.3 versus 0.2 percent.
And what I showed in the letter in the
correspondence in the New England Journal
with those numbers is that with the exact
same Vioxx incident, 1.3 percent with
those five events that you just cited was
exactly the same as in the VIGOR trial,
1.2 percent for death, heart attack and
stroke. And there was a 7.6, that's 760
percent excess compared with the
controls, whether it be naproxen m VIGOR
or nabumetone and placebo in the current
study 090 that we're discussing.
MR. GOLDMANT Move to strike
everything after the answer to my
question,

BY MR. GOLDMAN:

Q. Dr. Topci --

MR. KLINE: Move to include
as very responsive.
BY MR. GOLDMAN:

Q. Dr. Topol, the reason you
asked your statistician to compare the
number of events on Vioxx to the number
of events on nabumetone and placebo
combined is because you know that if you
compare the number of events on Vioxx to
just the number of events on nabuinetone,
there is no statistically significant
difference?

A. Thar's not the appropriate _
comparison. We already went through
this, that is, when you have drugs that
are a control arm that are widely
accepted and have been around for 10 or
20 years, and you have an experimental
drug, it is appropriate, just as Jumi did
in his analysis in the Lancet, and just
as we did here, to compare the control
arms with the experimental arm. which 1

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Ww
aN

this case was Vioxx.

Q. You didn't do that in your
JAMA article, did you, sir?

A. We didn't do it in the JAMA
article, but we didn’t have the right
data. So, of course, we couldn't do it
in the JAMA paper. We had erroneous

categorization of endpgints.

Tm uo WwW ha oH

oo

BY MR. GOLDMAN:

Q. Dr. Topol --

A. Ijust want to point out
that's what has made it so difficult for
us to do an analysis, because we never
had the paper, the manuscript written on
1,000 patients. So, we had to work in a
very difficult way, and that's what

9 Q. The reason that you combined
10 nabumetone and placebo and compared that

youre trying to get at, is why didnt
you do this or why didn’t do that. We

03/Q5 Page 7 of 41

didn’t have the data at hand because it
was never published.
Q. Dr. Topol, the investigators
who conducted study 090 did not compare
Vioxx to placebo and nabumetone combined,

11. to Vioxx is because you know that if you
12 compare the number of events on Vioxx to
13 placebo for study 090, there is no

14 statistically significant difference;

15 correct?

16 A. That is not the reason why they compared Vioxx to just placebo or
17 that analysis was performed that way. nabumetone; is that right?
18 Q. Am I correct, sir, that if A. How would we ever know that?

12 youcompare 5 events on Vioxx to 0 events
20 on placebo, there's no statistically
21. significant difference?

22 A. Idon't now. We'd have to
23 run the statistics on that.

How did you know that? I've never seen
any paper. How can you say something
like that? Can you show me that
evidence?

QO. Do you know, sir, that the

NNNNNHPP PRP EB PHP
TpDWUNEPOVaN nom hwh Po BOA AM NH

24‘ Q.__ You never ran that, did you? pretocol for study 090 called for parr
Face £13
1 A. Idon't remember that we ran ' 1 wise comparisons?
2 it. Idon't have jLat hand 2 A. Who has ever seen the
3 Q. The investigators who ‘ 3 protocol?
4 conducted study 690 did not compare Vioxx 4 Q. Well, let me show it to you.
S against nabumetone and placebo, did they, ° 5 A. Okay.
6 sir? They kept the three arms separate? 6 Q. This is Exhibit 44.
7 A. Maybe you can tell me, Mr. 7 MR. KLINE: See, you got
@ Goldman, why was this paper with this . 8 discovery from them.
9 extent of harm to patients, why was it g THE WITNESS: This will be
10 never published? 10 interesting.
ii Q. Can you answer my question, 11 ---
12° sir? 12 (Whereupon, Deposition
13 A. Tm just asking you, can you 13 Exhibit Topol-44, "MRL Clinical
14 help me to understand why the paper was 714 Study Report, Multicenter Study:
15 never published six years later on nearly 15 A Randomized, Placebo-Controlied,
16 1,000 patients? 16 Parallei-Group, Double-Blind
1? MR. GOLDMAN: I have half an 1? Study to Evaluate the Efficacy
18 hour left. Can you please ask 18 and Safety of MK-0966 (Rofecoxib)
13 your witness not to ask any 15 12.5 mg Versus Nabumetone 1060 mg
26 questions, 20 in Patients with Osteoarthritis
21 MR. KLINE: I think the 21 of the Knee (Protocol) 090),”
22 auswer is a rhetorical question. Zz MRK-0042001 6832 -
23 Y move to include it. Simply 23 MRK-00420016849, was marked for
a4 rhetorical. z4 identification.)

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Page 314 Page 316
1 - ee : i That's my objection.
2 BY MR. GOLDMAN: 2 THE WITNESS: This is very
3 Q. This is the clinical study , 3 simpie. Mr. Goldman, the problem
4 report for study 090. Do you see that, : 4 with this -- you're talking about
5 sir? 1 5 efficacy. And it's fine if you
6 A. This was not in the FDA : 6 want to look at efficacy if you'd
7 database. 7 like on each column, rofecoxib,

8 MR. KLINE: Objection. It's ‘8 ]2-and-a-half milligrams, Vioxx a
9 aprece of the study. Its not 2 Tow dose, and you want to look aL
10 the whole study. -10 the nabumetone and placebo, where

Ll MR. GOLDMAN: That's -11 is the safety, but where is the
12 correct. This ts a piece. 12 heart attack data in this report.
13 THE WITNESS: Table of 13 And why isn't that combined?
14 contents, 114 That's a legitimate and a vital
15 MR. KLINE: I'm suggesting 15 comparison that needs to be made
16 to Dr. Topel's counsel to have him °16 on the data.
17 see the whole report. -17 BY MR. GOLDMAN:
18 MR. GOLDMAN: That's fair, 18 Q. If you'd tum to Page 16, do
19 Dr. Topol. :19 you see that the safety information, the
20 MR. KLINE: Like everything 20 clinical adverse experiences were broken
21 that was provided to you today. -21 down by Vioxx, nabumetone and placebo and
22 THE WITNESS: I've never °22 not combined?
23 seen the report of this study. 23 A. Are you on Page 16 or which
22. BY MR. GOLDMAN! oo 2A Page are you on here? 167
Page 515. Face 5317
1 Q. Dr. Topol, I'm showing you Ji Q. Yes.
4 an excerpt, that's true, an excerpt of 2 A. Now, [don't see anything
3 the clinical study report -- ‘ 3 with death, heart attack and stroke here.
4 A. Okay. / 4 Q. Can you answer my question,
5 Q.  -- and if you'd tum to the _ 5 sir? Do you see that the safety
6 14th page and the 15th page, do you see : 6 information maintained by the
7 that the investigators kept the Vioxx 7 investigators was broken down, Vioxx,
8 nabumetone and placebo groups separate in & nabumetone and placebo? ,
3 the chart at the bottom of Page 14? 2 MR. KLINE: Objection. May
16 MR. HAMELINE: Let me just 16 T have an objection to the line of
li note the objection. We're not 11 questioning?
12 here on behalf of either party. /12 MR. GOLDMAN: Yes.
33 What Dr. Topol wants to do is give 13 MR. KLINE: He doesn't even
14 a fair and complete explanation of 14 have the whole document.
15 the research that he produced in (15 BY MR. GOLDMAN:
16 this field, and you're giving him 16  — Q. Do you see that, sir?
17 a document. L7 A. Tsee how it's displayed. I
12 MR. GOLDMAN: He asked for a 18 don't agree with that as being the only
18 document, 19 analysis that should be done also with
29 MR. HAMELINE: Well, he 20 respect to contro!s, nabumetone and
21 asked for this document six years 2i- placebo as compared to the experimental
22 ago. You've given him a piece of 22 ann, Vioxx. It should have been done
23 the document you're asking him io 23 that way. That doesn't mean -- if Merck
Z24 read in a brief period of time. 24 wants to present the data this way and

ee ZT t
bo sly}

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1 OFS” Js

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( Bole Her)
(ere feta berause ib eas

Pvbjiahed 2oe4 Awd Wad no impace on iAViaAd Vieyy ust }
Page 518 Bege 440 (
i mantpulate the data that way, that's | 1 after the study was completed versus six
2 their prerogative. That doesn't mean | 2 years after the study was completed.
3 it's correct. 3 That's a big. SeP
4 MR. GOLDMAN: Object to the | ee ER i
5 form -- I'm sorry, move to strike 5 as nonresponsive a
6 as nNonresponsive. | 6 BY MR. GOLDMAN:
7 BY MR. GOLDMAN: 7 Q. Dr. Topol, did you know in
2 Qe aneVOlLanswermy auction 8 August of 2001 when you wrote your JAMA
9 sir? ' 9 article that study 090 was not published?
10 A. I'l be happy te. 10 A. Well, I didn't know it was
11 Q. Does the table that you ; 12 published. So, we have to assume that
12 looked at on Page 16 reflect that the '12 since we couldn't cite it directly, we
13 safety mformation was maintained in /13 only could cite the FDA -- we assumed it
14 three different columns, Vioxx, -14 was a manuscript in review, soon to be
15 nabumetone and placebo? “15 published -- at the time when we .
16 A. The safety information I'm _16 published that paper, we didn't know of |
i? interested in that I've been writing : j sceeti qe SEU NTL
18 about -- Patsc
19 Q. That's not my question. to) didn't oublish study 085 sither: right?
20 A. -- that I've been concerned '20 A. They did publish 085. In
21 about this drug is not included in that .21 fact, there is a publication, and I can
22 table, and just because it's displayed :22 get that for youif you'd hke. It was
23 under the little excerpt of this report published indeed. It was 1,000 patient
|24 which has never been published for the similar, but I guess Merck was happy with
Page 519 Pace
1 medical community to see doesn't mean i the results, but it was published. gE
| 2 that it's. the only. way and. ag Se BS er va 2 ©. Well. if you can show me : f
ie ; - 3 today where Merck published study 083 bur: TP
~ Q. Dr. Topol, you hav e said on 4 not 090, I'd like to see that. OB
several occasions that study 090 was not 5 A. t's published in the Juni
| published: correct? € paper,
| ; A. That's correct. _ 7 Q. That's not a publication,
} Q. You knew that study 090 was 8 sir.
f not pubhshed when you wrote your JAMA 9 A. No. What I'm saying is it's
L article, didn't you, sir? /19 cited in the Funi paper.
A. Well, I already pointed out 11 Q. Let's look at the Juni
I, ; earlier in our discourse, in our (12 paper.
} .| Be discussion, it was 2001 -- well, it was 13 A. Ibelieve it’s cited in
f March of 2001 when we wrote that paper, ‘14 there. It's an osteoarthritis trial, so.
: and the study, we didn't even know when 15. FE don't remember the first author, but it
fo it was done, study 090. So, we give some °16 wasin lis analysis, and so it was 1,000
fo allowance for when 1 might be published, 17 patients. ['m trying to remember the
| But now in 2004, something is very .18 exact number, 085. It was -- we have to
conceming because it's now multiple 19 back it out. O85 had 1,042 patients, and
years later, it's nearly 1,000 patient @ somewhere in this table of Figure 3, that
| trial, it's not a trivial cohort, and it -21 is, there's 1,042 patient trial that's
i: still hasn't shown up in the hterature. 22 included in here and it's cited. F just
Ld So, there's a big difference between 23 don't --
March of 2001 a year or sa, two years Za QO. Dr. Topol, that 1,042 that

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a Continvahen ot pies PATE. Reters tw Zeoy pub iicete ef Shy Oss

Weekes cauors ofder by telah aa to tutats fier lavins Cet Fy
Page 522 | Page %24 \
1 you're referring to in Table 1 of Juni's i 4 lack of foundation.
2 paper which is on Page 2023 is the same | 2 THE WITNESS: It's nght }
3 1,042 number that you have in your JAMA 13 here. (Indicating.} /
€4 article -- : 4 MR. GOLDMAN: I don't see f
5 A. Right. 15 the date. /
6 Q.  -- when you described a : 6 BY MR, GOLDMAN: f
3.7 number of patients in 085. Correct, sir? 7 Q. But Dr. Topol, let me ask ~~
3 Ao But tm trips to find _§ you. so [op Witten: he.
9 the reference for that now, sir, that is, gute when you wrote youraricle
0 the publication. There's a publication 10 mJAMA in August of 2001, you knew 090 ;
1 based on these -- on this trial, 085. : 11 was not published, and you didn't say in a
212 Let me see if I can find it in here, i2 your article thai it should be, did you, é
3 085, it's by Kivitz, et al, 2004. What's :130 sir? :
4 that number, Joe? "14 A. We assumed every trial,
5 MR. HAMELINE:; 22. .15 particularly when it gets to 1,000
6 THE WITNESS: Reference 22. 16 patients, it's gomg to be published.
7 Okay. Here it is. It was /17 That's -- this is -- we're talking about
8 published in the Journal of :18 human experimentation. And you don't
9 American Geriatric Society in 2000 .19 experiment on 1,000 patients and not
xt 0 and -- Reference Number 22, 2004, ‘20 publish the results for the rest of the
ae Volume 52. It's by Kivitz, et al. ‘21 medical community to see. That's not
2 "Efficacy and safety of rofecoxib ‘22 acceptable medical research.
3 12-and-a-half milligrams versus 23 Q. Did you ever write the FDA 2
4 nabumetone 1,000 milligrams in __ 24 in August of 2001 when you knew that 090 13)
patients with osteoarthritis of i was not published and say that this study “a tuevit 200}
the knee: A randomized control ' 2 should be published because it's 3 awe
trial.” So it was indeed was ' 3 important? 4 Ae
published -- 4 A. We give trials or sponsors LL venderaat
BY MR. GOLDMAN: 5 an allowance of time. Yecuvse
Q. Dr. Topol -- 6 Q. Did you do that, sir? They ARE -
A. -- unlike stady 090. 7 A. How would we know that they aher laviad
Q. Dr. Topol, what you are & weren't intending to ever publish the dead, .
looking at is a publication after 9 trial?
_ withdrawal; correct? “10 Q. You knew that study 090 was
MR. KLINE: Which means ‘11° not published in August 2001. Did you
when? :12 ever write the FDA, did you ever write
THE WITNESS: No. Hwas ‘13 Merck, did you ever write anybody and say
published before the withdrawal. , 14 study 090 should be published?
That was published in early 2004. is A. We assumed that it was going
in the Journal of the American 16 tobe published. It was soon after --
Geriatric Society. It's an 17 Q. That wasn't my question.
elght-page manuscript published by 18 Did you ever write the FDA,
Kivitz and Colley before the 19 Merck or anybody else before this
withdrawal 29 medicine was withdrawn and say that study
: -21 090 should be published?
22 Q. I don't have that here, Dr. 22 A. [have a simple answer for
22 Topol. 23 that question. Why would we do that?
24 MR. GOLDMAN: I'm objecting. 24 Q. Is vour answer to mv

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Ae .

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Violates TOMAS opel sel

foe Uon. Ags ? tus iuet .
4 op Page 526! a Page 528 ADEA ¢
i question no, you didn't? 1 database," (Targum) with
- 2 A. Yes, Why would we even LO? handwritten notes, EJT 000211 -
B 3 think of doing it? 3 EJT 000248, was marked for
, 4 Q. Dr. Topol, if you thought 4 identification.)
5 that study 090 was that important and the 15 ---
6 events were so important that they should ' 6 BY MR. GOLDMAN:
7 be publicized, did you ever write the i 7 Q. This is an analysis by Ms.
8 EDA, Merck, or anybody else and say you : 8 Targum, February Ist --
9 should publish Study 090? 9 A. Dr. Targum,
19 A. Now, Mr. Goldman -- | :10 Q. Imsorry.
11 Q. Can you answer that yes or “11 Exhibit 44 is the analysis
12 no? :12 from Dr. Targum dated February Ist of
13 A. You're confusing everything :13 2004; correct, sir?

me |} l4 now. It was only in '64, 14 A. Correct.

i |15 October/November '04 that we got the /is Q. Do you see on Page 28 of the
1é straight data. We couldn't get to the /i6 document that Dr. Targum spends seven
| | 17 data. So how could we have known that it i 17 pages studying 090?

18 was statistically significant with a 760 118 A. Yes.
percent excess of heart attack in ‘02, in Jt Q. Do you see that Dr. Targum
. & ‘OL. We didn't have the data. There was ;20 also spends four pages studying 0845?
 esaemee ssag: a “24 A. Yes.
oniyou. aiswer my 22 Q. Starting on pages --
\ 23 question yes or no or not? Oe “23 A. remember that, ves.
a [24 _. MR. KLINE: Objection, He | 24 Q. The information that you.
Page S370 Page eo
i answered your questicn. ' 1 obtained to come up with your numbers,
2 BY MR. GOLDMAN: . 2 §,1,0 came from this document that Dr.
3 Q. Can you answer it yes or no ' 3 Targum prepared in February of 2001, and
4 or not? ' 4 that has been on the website ever since;
5 MR. KLINE: He answered your 5 correct?
6 question. : 6 A. That's not true. I've
7 THE WITNESS: I believe I 7 already stated unequivocally that we had
8 answered your question. You could @ the details of each patient before we
g play it back and listen to it, ' 9 could make the final determination of the
10 MR. KLINE: There are 14 id 5,1 and60.
11 minutes left. 2a Q. If you'd turn to Page 32 of
12 BY MR. GOLDMAN: .12 the decument, Dr. Topol --
13 Q. Dr. Topel, I want to ask you 13 A. That's right.
14 about Ms. Targum’s analysis that you have “14 Q. -- do you see that you have
iS referred to so many times today. _15 written at the bottom 5, 1 and 0? Do you
16 A. Yes. “16 see that, sir?
i7 MR. GOLDMAN: And I'm going “17 A. Yes, but that's not solely
i8 to mark it for my purposes as 44. 18 on the basis of this table. That's notes
if THE WITNESS: Okay. L9 that E wrote after having access to the
20 --- 20 clinical details of al! the events, the
Z1 (Whereupon, Deposition “21. «6, the 2 and the 2, that is 10 evenis, 10
22 Exhibit Topol-444, Memo 2-1-01 22 putative events. I didn't have the
2a “Consultation NDA 21-042, S-G07 23 details. So, for example, the placebo
24 Review of cardiovascular safety 24 patient called coronary artery occlusion,

123 (Pages 326 te 5292)

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Page 530: Page 532
1 which could have been a heart attack, - 1 that you used in October of 2004 when you
2 only did I find out during the details ' 2 wrote to your statistician —~
3 was that, in fact, this was a man who had 3 A. Right.
4 had a chronically occluded artery for 7 4 Q. -- correct?
5 many years. It wasn't a heart attack. 5 A. Right. So, what we were
6 So, I couldn't possibly have made a : 6 doing --
7 determination about heart attack just on 7 Q. My only question was, 1s
Geet Heacrceafetbis table That's jisiLan ' 8 that correct?
9 example. /g A. We accepted Dr. Targum's
10 Q. Dr. Topol, do the numbers 5, /10 data in proxy for the real data. That
11 1 and0-- /11 was the whole point. We accepted Dr.
12 MR. GOLDMAN: Move to strike 12 Targum before we were getting the
13 the last answer. 13 details. We accepted her data. She
14 BY MR. GOLDMAN: 14 apparently didn't do the statistical
15 Q. Do the numbers 5, | and 0 15 analysis, not presented here, In fact, I
is that you wrote down on Page 32 appear on 16 discussed this with Dr. Targum, andI
17? the page that Dr. Targum wrote in ‘17 have e-mails back and forth to Dr. Targum
18 February of 2001? /18 that she did not do the statistical
19 A. Her numbers are 7 -- "19 analysis that should have been done, but
20 Q. Her numbers -- that's _20 we accepted her numbers before we got the
21. actually a good paint. 22 real numbers.
22 A. Cardiovascular system are 7, :22 MR. GOLDMAN: Move to strike
23 landl. /23 as nonresponsive.
24 Q. Well, let's actually goup 24 BYMR. GOLDMAN: _
Page 531; Face 533
i to the top, Dr. Topol. Do you see that i @. Dr. Topol, the 6, 4 and 2
2 Dr. Targum, who did this analysis, says 2 that you wrote in your JAMA article came
3 at the very top, “Below is a listing of ' 3 from a document that Dr. Targum wrote in
4 serious cardiovascular adverse events. : 4 February of 2001, correct, sir?
5 Inthe" Vioxx "group, a total of 6 _é5 A. The JAMA paper, if we can
& serious cardiovascular adverse events ' 6 get back to that, was taking that table
7 were reported; in the nabumetone group, 7 with the things that were completely
8 there were 2, and in the placebo group," & erroneous like atrial fibrillation, heart
9 there were 1, Do you see that, sir? : 9 failure, we took those en face. We
10 A. Yes. 10 didn’t know the details. We just
il Q. Thase are the numbers that [12 accepted her numbers. That's why it
12 you used in your JAMA article; correct? -12 corresponds to numbers of 6, 2 and 1.
13 A. We took our JAMA straight '13 That's exactly how the table is laid out,
i4 without any questions because we didn't -14 6,2 and 1. Do you follow me on that?
15 -have access to the details. “15 MR. GOLDMAN: Move to strike
16 Q. This same table down below 16 as nonresponsive.
17 that you referred to before where you 1?) BY MR. GOLDMAN:
1 came up with 7, do you see that, sir, of 18 Q. Dr. Topol, you were asked a
19 the 7 in the Vioxx group? i? question before about an exhibit, another
20 A. Yes. But they -- -29 e-mail that you wrote to 60 Minutes.
21 Q. In the middle? 21 - ++
22 A. The 7 doesn't correspond to 22 (Whereupon, Deposition
23 the table above. 23 Exhibit Topol-45, E-mail
24 Q. The ?, sir. is the number 24 10-17-04, EIT 600343, was marked

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iO wg oh uP em i Noe

for identification.)
BY MR. GOLDMAN:

Q. Dr. Topol, this is an
exhibit I'l] mark as Exhibit 45, Mr.
Kline asked you -- this is another

e-mail, October 17, you're writing to 60
Miauiss, 2004. eorrect?

534!

mwa mun Ww we

left, "Study 090 September 1998 - May
1999"? Do yeu see that?
A. Yes.
MR. GOLDMAN: Page 1.
MR. KLINE: Page what?
MR. GOLDMAN: 1.
BY MR. GOLDMAN:
QO. Dr. Topol, you agree with me

om ~l moun de ld Bo

Po eR
AM ew NP a

1?

A. Right.

Q. And you were asked about the
statement in the first paragraph "We can
now confirm that the famous study '090'
of Merck was NEVER published, that it was
part of the FDA pivotal registration
packet leading to the May 1999 approval,
and that it showed a striking risk of
heart attack and stroke before the drug
ever got commercialized." Do you see
that?

A. Yes.

Q. The reason you told 60
Minutes that is because you wanted to
make it look like Merck had information

increased cardiovascular risk; correct?

A. That is absolutely
Incorrect,

Q. You know, Dr. Topol, that
it's false that the study 090 was not
part of the pivotal registration packet,
which is the NDA, because study 090
wasn't completed by the time Merck
submitted the NDA?

A. There was no way of us
knowing that from the FDA documents.
There were no dates in here about when
the study was done, and only later did we
find out that 084, 090 and VIGOR were in

- this pivotal supplement to get expanded .

application -- expanded indication for
VIGOR. So, it wasn't in the original
approval packet, and I only learned that
subsequent to this e-mail.

Q. Do you see if you look at
Dr. Targum's report --

A. Yes.

Q.  -- that we talked about. do
you see your handwriting there to the tap

he
tm

hb

jot fant bed

HH ops
Whe OW DIR Bie Nt oO

Oo

11

o al cy ui we Wt BI oF!

4.0

Bo MJ Bo fo BKROF H oi ote

rls

__ Without knowing whether or not Merck's

‘called Shari Targum, I sent e-mails to

that the information that you gave to 60
Minutes which you confirmed that Merck
submitted study 090 with the NDA was not
true?

A. It was because we didn't
have the information. It was the best I
could do. But just like the numbers that
we finally got corrected for 5, | and 0
on Page 32, I finally did get the dates
of the conduct of study 090, and I wrote
them down on this report, but [ didn't
have it at the time and certainly in mid
October. [ only got that information
well mto November.

QO. You confirmed to 60 Minutes

Fage 227

090 study was part of the NDA. You
confirmed that fact with 66 Minutes?

A. had no idea when the study
was performed. And there's no way of
telling in this decument when this study
was performed.

Q. Dry. Topol, when you wrote to
60 Minutes, we now can confinm that study
090 was part of the NDA leading to the
May 1999 approval, you didn’t know
whether that was true; correct?

A. [thought it was true, but I
only found out later it was a mistake.
Because, again, dealing with a study
that's never been published, and dealing
with FDA documents -- and, actually, |

her, { even sent e-mails to Maria
Villalba asking them, and they would not
release the dates to me. So, I tried

very hard to do the best I could to get
the dates of the trial. I finally got

the dates, but, again, if was extremely
difficult because thev're not on the FDA

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ii than nabumetone or placebo. Topol was
12  tiot interested in study 085 which had

13 identical design and duration (6 weeks)

14 and approximately same size, but showed,"

Page 538; Fags 54%
1 Mebsite. 1 MR. GOLDMAN: Move to strike
2 Q. Do you know, Dr. Topol, that “2 as not nonresponsive.
¥ the FDA -- withdrawn. : 3 BY MR. GOLDMAN:
MR. GOLDMAN: Let me show (4 Q. In the next e-mail on
you two documents, sir. Let's go ' 5 November § of 2004, Doctor --
6 off the record while I get these 6 MR. HAMELINE: Let me note
7 if that's okay. 7 my objection here. Again, you are
8 THE VIDEOTAPE TECHNICIAN: i 8 putting in front of him documents
9 Off the record at 5:56. ; 2 that someone else has authored to
10 --- LO another third party. You're
1i (Whereupon, a recess was h1L asking him to agree or disagree
12 taken from 5:56 p.m. until :12 with statements that they are
13 5:57 p.m.) /13 making and not allowing him to
14 --- /14 concem. If you have a question
15 THE VIDEOTAPE TECHNICIAN: 225 for Dr. Topol about these
16 Back on the record at 5:57. 16 documents, ask him. But he's net
17 --- 1? here to simply be a parrot about
16 (Whereupon, Deposition 18 what other people have said.
19 Exhibit Topol-46, E-mails, 21g THE WITNESS: Yes, I mean —
20 FDACDER 023057 - FDACDER 023058, | 20 MR. GOLDMAN: Dr. Topol, I'm
21 was marked for identification.) “21 not going to use up my time
22 --- , 22 getting inte arguments. I have a
123) BY MR. GOLDMAN: '23 few nore questions. Let me ask
24 _Q. Dr. Topol, I'vehanded you 24 nem _
Page & ' Page 541
1 Exhibit 46, which is an e-mail exchange = - THE WITNESS: Well, it's
2 within the FDA. And I want to point your 2 funny how you don't have the
3 attention to November ist, 2004. Do you 3 statements about what they said af
4 know who the author is? / 4 V/ seen why Merck should have le ach om
5 A. Dr. Villalba, yes, primary \f.. 5 submitted these data earlier, _
& reviewer of this application. 6 attributing it to me, but --
7 Q. Dr. Villalba of the FDA 7 BY MR. GOLDMAN:
8 writes "Study 090 was conducted between 8 Q. Dr. Topol, you see that Dr. ~ G ts
9 September 1998 and May 1999, This one . 9 Villatba of the FDA writes on November 8 V o4d
10 showed more CV thrombotic events on Vioxk .10 of 2004, "Merck might have submitted ,

study 090 results to the Agency sometime
earlier than June 2000, but I do not

: think we would have done anything with
_i4 it, since the number of events was small

25 and he underlines this, ' no differences 15 and there was a twin study (085) with
16 in CV thrombotic events.” Do you see 16 identical size and duration, conducted at (ou vifen .
17 that, sir? i? approximately the same time, that showed dex en off
18 A. I see it, and I want to 12 no difference in CV thrombotic events as q “Or
43 point out that a clinical trial is for 20 i¢% compared to placebo and nabumetone.” Do TU: aan
20 years. _20 you see that, sir? s¥2:
21 Q. Doctor -- “21 A. I see that. __- f
22 A. You look for signals and you 22 Q. This was written after the
23 don't disregard certain trials and look 22) drug was withdrawn; correct?
24 atcertain trials. 24 A. Yes. And still [ was net
136 (Pages 5238 co 541}
ag comer fasignaes fp OSPR 402 do 2cd-ddda4aGl-87d2-23ie3a1 oofer
) 637-2-24 1 obje S- hoarsag
Arh imp a pro f AecSao
ons RES pons w€

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Page 542 / Peqe 344
i informed of these dates. ' 1 then encloses the revised label.
2 Q. Dr. Topol, [have a few more : 2 Correct, sir?
3 questions. 3 A. Yes.
4 A. And the other issues as 4 Q. Did you ever write back to
5 well. | 5 Merck and say you thought this label was
6 Q. Dr. Topol, you talked about | 6 imadequate back in April of 2002?
7 the waming label for Vioxx; correct? i 7 A. Well, the first point I just
a AYES : 8 made is the time delay was not
3 Q. You're not an expert in 39 appropriate, and it's too late at that
10 wamings and labeling under the Food & {10 point.
11 Drug Administration guidelines, are vou, ‘1a secondly --
12. sir? 12 Q. Did you --
13 A. Well, I'm certainly familiar ‘43 MR. STEIN: Let hii finish.
14 withthem. I wouldn't call myself an i14 THE WITNESS: We're talkmg
15 expert, no. 145 about the package insert?
16 Q. You said that the warning (16 BY MR. GOLDMAN:
17 label that was approved by the FDA in ‘17 Q. My question, Dr. Topol, was
18 April of 2002 was adequate. Is that -18 very simple. It was, did you ever call
19 your testimony? 719 Merck in April of 2002 to tell them that
Zo A. Inot only said it was -20 you thought the label was inadequate?
21 imadequate, but I also wrote in my New “21 «Yes or no?
22 England Jourmal of Medicine invited (22 MR. KLINE: Please finish
23 editorial that it was unacceptable about the answer that you are being cut
24 the delay from the time the committee _ _ offfrom, sir
F Fage 245
2 met, PDA, m February 2001 with the 2 BY MR. GOLDMAN:
2 consensus recommendation that the label 2 Q. Can you answer that
3 be changed until April of 2002, a delay - 3 gnestion?
4 unacceptable of 14 months for the label 4 A. Are we talking about the
5 to have a minimal change. 5 package insert or this?
6 Q. Merck sent you the label 5 Q. The package insert. Did you
7 that was approved by the FDA in April of 7 ever write to Merck --
8 2002, didn't they, sir? a A. I did not write to Merck.
g A. Yes. 3 Q. Did you ever write to the
10 -- ‘10 FDA and say, I think that the package
11 (Whereupon, Deposition ii imsert that you just approved for Vioxx
12 Exhibit Topol-47, Letter 4-11-02, 12 was inadequate in April of 2002?
13 with attached label, EJT 000044; 13 A. I discussed it with the FDA,
14 EJT 000050 - EIT 000065, was 14 and I believe it’s in some of my writings
15 marked for identification.) 25 as well. And it may be even in
16 --- ‘16 correspondence to the FDA, yes.
17 BY MR. GOLDMAN: “27 Q. Ewould like you to find,
18 Q. I'm marking Exhibit 47 for 18 Dr. Topol, because you just said that you
19 identification, and this is a letter from 13 wrote to the FDA, Id like you to find
29° Tracy Mills of Merck to you, April 11. 20 forme where you wrote them in April of
21 2002. "Dear Dr. Topol: As an advisor 21 2002 or any time in 2002 or any time in
22 and consultant to Merck we wanted to 22 2003 or any time in 2004 before the
23 bring te your attention the revised 23 withdrawal where you teld the FDA you
24 Prescribing Information for Vioxx" and 24 thought that the warntng label that they
L137 (Pages 542 to 245)
405d92cd 400 a~489f-81d2-23 esac ater

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Page 546 Page 54
1 approved was inadequate? i A. Yes. I'm happy to, because
2 A. Tsaid -- firstly, | would 2 that's a subgroup analysis, which is
3 goback to my statement. I discussed 3 unacceptable if you're trying to make
4 this withthe FDA. I don't recall] for 4 that. What they show is lack of
5 sure whether f sent correspondence. 5 differences between the doses. It
é Certainly F didn't send a separate : 6 doesn't mean that one dose is not
7 fetter, but I did discuss it with them 7 significant. Here it is ght here. And
2 that thought that by not -- the | 8 for you to be able to interpret that
9  gastromtestinal benefits were ; 9 1s--
10 highlighted in the new package insert. : 10 MR. HAMELENE: Identify the
1 But the cardiovascular toxicity, although ii table.
12 inthe package insert, was way down, it 12 THE WITNESS: -- is absurd.
13° was in small print, it wasn't 13 Table 2 in the Juni paper in the
14 highlighted, not in beld face. It was /14 Lancet. What it says is that the
15 certainly not a flag for the consumer and i15 tisk of 12 and a half milligrams
16 for the physician. /16 was 271 percent. And that wasn't
17 MR. GOLDMAN: Move to strike 17 quite statistically significant,
18 as honresponsive, /18 although close. The 50 milhgrams
19 BY MR. GOLDMAN: ‘135 was indeed statistically
29 Q. Did you ever write any 20 significant at 2.83 or 283 percent
1 article, Dr. Topol, in any journal in 21 increase, And then what you're
22 April of 2002 after you saw the “22 tryimg to say is that 25
23 FDA-approved label to say, I think this :22 milligrams was not statistically
4 labelis inadequate and shouldbe = 2.4 Significant because itwas 1.37.
Page 847° Page 24%
1 changed? 1 Well, you can't make those
2 A. IT wrote about the timing Z conclusions. The analvsis is done
3. being adequate in the peer-reviewed 3 on the drug. There's no --
4 literature. [ did not write -- Ido not 4 BY MR. GOLDMAN:
5 recall writing im any medical literature 5 @. Dr. Topol --
6 that the package insert was inadequate. 6 A. There's no interaction. The
7 MR, GOLDMAN: Two more 7? p-value for the interaction of the dose
a questions, and ['ll reserve 2 is not significant.
9 whatever time I have, if I have . 23 Q. Dr. Topol, does Table 2 of
i0 any. :10 the Juni article show that there's no
11 MR. KLINE: You have none. 21 increased risk associated with VIOxx at
12 BY MR, GOLDMAN: °22 25 milligrams versus placebo?
13 @. Dr. Topol, you referenced 13 A. It absolutely does not
14 the Junt article. Do you remember that? -14 convey that.
{ A. Yes, certainly, 15 | @. Can I see the article fora
i ns mpfershaied fh 1S second?
\ 7 there's no incre associated with 17 A. Yes, certainly.
#18 Vioxx at the 25 milligram dose, correct, 18 (Handing over document.)
<9 sir? i Q. Do you see, Dr. Topol, that
MeO A. No. No. That's not at ail 20 in Table 2, under “Daily dose ,"25
i 4213 an appropriate interpretation of that 21 milligrams has a relative risk of 1.37
/ i PREECE eee te etme -22 anda confidence interval of .52 103.61,
L 23 “Q. “Do vou want to look at the’ 23 so the number | falls within the
74 table with me? 24 confidence interval, and there's no

ae

- a : 138 43
Wie lates Lau fre Orde vy oven .

\ . 4 a
Sn Jer ne le 1 PP eM 2004

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-  Lalej gt Omi] Kadwitlae vale Lule GOL

statistically significant difference in
cardiovascular risk associated with the
25 milligram dose.

A. You missed on the most
important next part of that same --

Q. Can you say whether that's
true or false and then you can --

MR _HAMPELINE Well you

He oi bd RS

that i in ‘trial duration, do you see that

interaction on dose, you could make that
assertion, but with a p-value that’s
insignificant for interaction, you cannot

in less than six months there's no
statistically significant difference in

bo ha A we

vk

k

re
ho

have the table.

THE WITNESS: The p-value
for the interaction, that is, is
69. So, you can't say anything
about statistical significance
about any of the doses. You can't
say anything about it.

BY MR. GOLDMAN:

Q. Doctor --

A. It's an overall conclusion.
Q. Dr. Topol --

A. ‘You're making an

illegitimate subgroup, and you can't look
at the confidence interval and mterpret
that.

Q. Dr. Topol, when you look at

WB LL fa he

wom ym Ul

BRP
wo

the 25 milligram dose for Vioxx in Table
2, do you see the confidence interval
covers 1, which means that the 25
nulligram dose, there's no statisticaily
significant difference in -- withdrawn.
Bo you see, Dr. Topol, that
in Table 2 of Juni's article with the 25
milligram dose that the difference in
cardiovascular events -- I'm tired. i'm
Sorry.
A.
will --
Q. Tdon't want ta read the
paper. I want to look at the data.
Dr. Topol --
A. I'm with you, Mr. Goldman.
Q. Dr. Topol, if you look at
table 2 at the 25 milligram dose, do you
agree that because the confidence
interval covers 1, there's no
statistically significant difference in
cardiovascular risk between Vioxx and
placebo?

If you read the paper, it

Re

PR OR D2 RG Ba Be be Be eto?
Me Ow

feb bs

m ot ba bh Oo

in

~] ch

if ta BI Fe

oom -1m Wi

wo 1 mg

_p-value for interaction. And the only _

increased cardiovascular risk m the Juni
study?

A. I'm afraid the problem is
that you're not interpreting these data
properly because the concept -- and I can
explain it if you'd like, about
heterogeneity and interaction, What this
table shows, and the most important
aspect of the table is this column for P
for interaction. And what this shows is
that the duration, there’s no difference.
217 percent excess for less than six
months. 233 percent excess for heart
attack for greater than six months. The
same thing for dose. Only if there's a

rage

one there was, interestingly, was on the
external endpoint committee, which is a
topic I would have loved to address with
you. But that is the only one that was
significant. And that's the only thing
you can say about this table,

Q. Let me ask one more time.

A. Yes.

Q. Without looking at the
p-value that you just looked at, do you
agree that Table 2 of the Juni study
shows that there's no statistically
significant difference in cardiovascular

risk associated with the Vioxx 25
milligram dose?

A. It does not show that there
is no statistically significant
difference, that there's na statistically
significant -- there's nothing you can
say about any of the doses higher or
lower based on this analysis and the

ae MR GOLDMAN:
any more questions right now, Dr.

A. Ifthere was a significant

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wf lm oF me Wha be

Page S54-

Topol.
Can we take a break?

MR. HAMELINE: We can. Off
the record.

THE VIDEOTAPE TECHNICIAN:

Off the record at 6:07.

CWhereupon. a recess was

cow Gm in id WwW Me

Page

writing numbers. Do you recai] when he
was writing numbers and you were
disagreeing that those numbers were
comparing apples and apples?

MR. GOLDMAN: Objection.

THE WITNESS: Yes.
BY MR. KLINE:

OQ. Well, no he was

556

Wo dp 3 OLA a tab fo be

wae ee

eee We

24

taken from 6:07 p.m. until 6:24
p.m.)

THE VIDEOTAPE TECHNICIAN:

Back on the record at 6:24.

MR. GOLDMAN: Tom, to be
clear for the record, when J just
say objection, I can work out
exactly what the basis for the
objection is and tell Linda, the
court reporter, after the
deposition?

MR. KLINE: Yes. With the
presumption that it's a few words,
not a paragraph, which I assume it
will be.

BPeEPrPe eH
Wob WNP Oo

dodo B NE

t ce. or ‘op

MR. GOLDMAN: It is net
going to be a paragraph. It's
going to be either lack of
foundation or opinion --

MR. KLINE: Yeu --

MR. GOLDMAN: -- testimony or
form.

MR. KLINE: You and I are
together. Say objection, say it
loud and clear so we hear it.

EXAMINATION

pen EE

again.
Bee ¥8ecc-ye0 ~.
ye tid T' want to a&k you a
couple of questions that the Merck lawyer
may not have -- in fact, I know didn't
ask you.

First of all, J didn't know
that he was making a chart of the CV
event analysis. Apparently he was

Ht

al-nice tose you

Fl beh PE pt et

Ws Gb Mo Ow Ow au oe Ww hr ©

wD

16

|

~) oy i ds tu mM

wo oD

Bo BF BO Bo BE be et

disagreemg, that it was comparing apples
and apples. You are saying it was like
comparing two different fruits?
MR, GOLDMAN: Objection.
THE WITNESS: Yes.
BY MR. KLINE:
Q. Allright.
] see here that he prepared
and marked something called Exhibit 48,
and what he says here, [']] put it in
front of us, that in August of 'O1, JAMA,
he says Vioxx -- help me with that.
A. Nabumetone.
@.  -- nabumetane, placebo.
A. Right.
_ @ And he has August, 91,0

JAMA, 6, 2, 1?

A. Right.

Q. Vioxx, nabumetone, placebo
for October 25th, 7, 1, 1?

A. Those are Dr. Targum's
numbers, but the basis of them was

uncertam. So, that's what we were going |

on, until we could zocm in cn each and
every patient and figure out whether they
had a heart attack, a death or a stroke,

Q. Understood.

And then in November 12,
it's 5, 1, 0?

A. That was after the final
review of each patient's detailed
clinical history.

Q. This is 090; correct?

A. That's 090.

Q. That study for Merck was
bad; correct?

MR. GOLDMAN: Objection.
THE WITNESS: Well, let's
put it this way. [ only leamed,

vou knaw, back in November of '04

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eo a meat
(rages wk

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Page 553. Pege 560
1 that it was finished in 1999, So, ‘ 1 studies -- Merck published 085; correct?
2 now it's 2005, it's six years 7 2 A. Yes.
3 later, it hasn't been published, . 3 Q. Good for them; correct?
4 and as far as F know, it's the : 4 MR. GOLDMAN: Objection.
5 only significant large trial m 7 5 THE WITNESS: Well, it --
G nearly 1,000 patients that has not ' 6 BY MR. KLINE:
7 been published im the Vioxx trial. 1 7 Q. Good, at least it appeared
pt a relly abana dort Tota 8 tebe spod as far as cardiovascular risks
5 Q. Do you recall the | 9 were concerned; correct?
10 questioning when the Merck lawyer showed = :10 MR. GOLDMAN: Objection.
Li you an e-mail, and he suggested to you 1 THE WITNESS: ft didn't
12 that somebody suggested, so, therefore, : 12 have, as best I can tell, any
13 he, the Merck lawyer, was suggesting that i13 heart attack and death and stroke,
14 you weren't interested in 085? :14 but it took a long time. It got
15 MR. GOLDMAN: Objection. /15 published in 2004 by Kivitz and
16 THE WITNESS: Right, yeah. 26 colleagues, as we saw, but that's
17 And that is a really important /i7 a very long time lag. I don't
18 point, hecause when you are ie know when that trial was
19 reviewing a profile of a drug ora ‘13 completed, but I assume it was
ZO device or a biotechnology product, 520 sometime in ‘99, and that's stil]
4i you can't ignore a signal from any -21 a very long time lag.
22 aiven trial. Each trial in itself 22 BY MR. KLINE:
23 is acompartment. So, if you have "23 Q. Putting aside the time lag,
24 ___...2 significant excess of events, _24__ they published 085, which has some good _
Pege 559 rage 361
1 serious events, we're talking here i data in them, and they did not publish
2 about death, heart attack and 2 G90, which is bad for them; correct?
3 stroke, and you see it in two 3 MR. GOLDMAN: Objection.
4 independent compartments, that's 4 THE WITNESS: That was why
5 the whole story. It's right 5 090 became a source of mereasing
& there. 6 concem over time, the fact that
7 It doesn't mean that you had 7 it didn't show up, the fact that
8 another trial that was very 8 when Dr, Juni and his colleagues
9 similar, in this case, 084, it 3 did their analysis, as I reviewed
10 doesn't mean that that trial is :10 with you, Mr. Kline, this morming.
i1 wrong or right or -- the important 11 BY MR. KLINE:
L2 point here, and this is a critical 12 Q. Yes, sir.
23 thing for interpretation of 13 A, Tt was that 090 that took
i4 clinical trials in a field, is 14 WIGOR across the line and made it what
i5 signals. And once you have 15 . they considered a drug that was suitable
16 replication in two compartments, 16 for withdrawal. So, this study 090
17 two independent trials, that's the 17 becomes much more important, the fact
18 story. That's basically what I 16 that it wasn't published, but also the
15 was communicating at the time of ‘19 fact that it was a replication of VIGOR.
20 the 60 Minutes interview. 29 Q. Is that why you were
Zi MR. GOLDMAN: Objection, 21 interested --
22 move to strike, nonresponsive. 22 MR. GOLDMAN: Gbyjection,
23 BY MR. KLINE: 23 move to strike, nonresponsive.
Z4 QO. Ifthere were ane of the tvo 24 SY MR. KLINE:
141 (Bages 553 to 561
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(Gage BOSHOAA SSR BFeDEKy Dosurtan 8A yhe Biled:

> Fogel opie a WE oN bY.

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ae ret

Weve And G itticuiat gadtr Role O° |
W's
:. :
Pa Zi Fag 5 '
eng eee wee Dr. Topols
1 Q. Do you consider yourself to od And then in the wake of VIGOR, or, Opi MME
2 bein this whole Vioxx affair a -- strike , 2 actually, it preceded VIGOR by Ov OFS
3 that, I'm go ing to start again. ‘3 many months, but when you put the
fies Bi vis : 4 two together, you have a large and OF0
at the Vioxx safety, do you consider 5 trial of 8,000 patients, you have Ate
yourself to be independent, sir? 7 € a trial of 1,000 patients, which well
MR. GOLDMAN; Objection. 9 is a respectable number, it's not cdouaruntre
SEE nchertritetenicar: é pital wou see the same problem «- the
how I could be more independent. : 9 in both trials, that's when you y-
I certainly wasn't involved in the “10 have to make a conclusion that yew eved
trials, but on the other hand, I'm 211 there's a si2 nificant problem. a t call
looking at it as a seasoned :124% SLA: ‘ BeeHEn. yj ee i
clinical trialist, so, yes, I (43 move to strike, nonresponsive. Ure eae
f E ay believe 1'm an independent viewer. 14 BY we KLINE: . and Thee
: VIR. KLINE: 615 . Now, when you were running hea ps
| 26. QO. Which of the two studies, if '16 the statistical significance and you were IS fev .
‘| 27: they had to pick one, should have been '17 going to your statistician, was that a no acactnic
#8: published, and why? '18 © statistician at Cleveland Clinic? a pie losist
MR. GOLDMAN: Objection. /ig A. Yes. yup ‘tc
THE WITNESS: Well, study '20 Q. Okay. MP2
090 should have been published as 22 Were you trying to be ‘G ed
soon as possible, and that was the 22 accurate and correct, sir? aha
concern that Tregistered. And, “23 A. Yes. mean, I've been nN DV
__. of course, that was that Mr. _24 doing this for a long time, and I dont 1T6 pel to
Page 562° Fage 565 toh ae
i a Goldman's e-mail that I first saw, 1 ever want to put my name associated with f> whack
/ 32 internal FDA, they talked about, 2 data -- with the wrone data. And 5 Stu ai cs
é £3 should they have done something ' 3 regret that we could not, back in 2001, ¢D
‘\ aa with that data much earlier. But _ 4 get to the right data for 090, because we pred
| “5S that one was the one of concern, : & could have found -- we could have Le chee!
| gS And just because there's another : 6 identified this problem a lot earlier. pu I ‘
j ied trial of similar size and design 7 Q. Now, let's go to that point, ol ver”
jf 5 that doesn't show the problem, - 8 if fmay. MM ’
aS: doesn't negate, it doesn't make 9 MR. GOLDMAN: Objection, wer S
a0 you in any way not seriously 10 move to strike, nonresponsive. Pose sar
oh concerned about 090. 1i BY MR. KLINE: . o f iavrnah,
e BY MR. KLINE: 12 Q. Bear with me. I've got to wr shared
rs. Q. These data, even looking at °13. find some notes that J had, which I've .
#4 them the way he compares them, 6 Vioxx to 14 got here. With The
rs 3 when you combined nabumetone and. 15 Okay. Let's move to that Mod caf
$6 placebo, or 7 versus 2 or 5 versus 1, are 16 data. Comunity
iy any of those numbers, sir, reassuring L? You looked to the Targum Vs centa
¥8. that Vioxx is safe? t& memo from the FDA to find out information .
i otig. MR. GOLDMAN: Objection. 19 that you couldn't find publicly. Is that fo plain h £'
20° THE WIENESS: They're not at 20 the gist of what you were telling us? Ger! Live™
i 22: allreassuring. We're running on 21 A. Yes. te warn
, | 22: a relatively low event, but they 22 MR. GOLDMAN: Objection. .
, [23s are an imbalance of events no 23 BY MR. KLINE: Caio .
, [es matter how you look at study 090, 24 Q. And the fact of the matter

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~ Vuelafes ~oure’ ordce by felabay bh cueh thab Age Fre [Runay dea fh
Pui Ay APT RN: y Addaateys Bhd et

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1 is, when you locked at that information, . 1 yourself, what does this show me against
2 did you find things that were troubling? ' 2 this problem that was in VIGOR, which now
3 Is that the nub of it? : 3 has a lot of attention in the medical
4 MR. GOLDMAN: Objection, i 4 community; correct?
5 foundation. 25 MR. GOLDMAN: Objection.
6 THE WITNESS: Without any 7 6 THE WITNESS: That's
7 question, yes. 7 correct. And moreover, there's
ne ere ae 8 APPROVe in colon polyp patients,
9 Q. AndI think you said maybe 3 not heart patients. There’s also
10 three times, four tumes, five times, that 10 ADVANTAGE in osteoarthritis for 12
11 you wanted to look at Page 32 and give an ‘1a weeks. There's other trials now
12 explanation. Is that correct? , 12 that we have access to and you
13 A. Yes, I did. '13 say, well, wait a minute, where
14 Q. Okay. 14 was the signal really there?
15 A. Because 32 is the beginning LS That's what this is about. Where
16 of where the problem lies. Because on “16 was the first signal really there?
17 Page 32, there's -- “a7 Why didn't we get the right data,
13 Q. Let me just put it in /18 the drilled down data on the study
iS context, because the jury and whoever is BQO? ese eptyey cece ee,
20 looking at this now, junes in |g BR eR: GOLDMAN: * Objection,
21. particular, are going to be looking at -- “240 move to strike, nonresponsive:
22 let me start again. °22 BY MR. KLINE:
23 Jurors will be locking at “23 Q. Now, recognizing -- I'll put
24 this for quite a while at this pomt in _ 24 itmadifferent foomto make surewe
Page §s7 Page 349
ING Gay cas * eg Fe 1 get if.
Pee Thi ¢ emo Dy 2 Were you looking for the
2 an FDA reviewer, and the memorandum is 3 drilled down data, what you call drilled
4 dated February 1, 2001; correct? 4 down data?
A. Yes. 5 A. Yes.
Q. But the information is about 6 @, What is -- I've heard that
a study that was done pwo years earlier; 7 term today.
correct? g What is drilled down data?
A. That's correct. _§ A. Well, basically this table
j #1 @. And you now, two years 10 isthe bare bones. It says coronary
‘\ #11 later, are looking at that data as an 11. artery conclusion for the placebo patient
| #i2 independent eye and saying, what was 12 on Page 32.
| really in that study; correct? 13 Q. Look at the table.
/ MR, GOLDMAN: Objection. .i4 A. Yes.
j yz 5 THE WITNESS: Right. Three i5 . Q.. RecognizethatI[ have20 |
i Vite years later. 16 other areas I want to cover in less than Le Aviné
i fa? BY MR. KLINE: 17 40 minutes. j
| 38 @. Three years later. 1s Ai jvintarkhue
| Bas And that study hadn't been oe
F2C published yet? , “20 batts mab
, baa MR. GOLDMAN: Objection. 21 of them what itis that you wanted to
tee THE WITNESS: That's right. 22 communicate to them when you were
: [23 BY MR. KLINE: 23 answering questions by Merck's counse
a a

\ Z4 Q. And you're saying to + when he was challenging you, like Merck |

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Ji | Page S70 | Page 372
f ' challenges everyone, please? 1 worried later in 1999 when you
MR. GOLDMAN: Objection. ; 2 have a trial where you have an
THE WITNESS: The point ° 3 excess of deaths and serious
being, I gave this example, but / 4 cardiovascular events.
the coronary artery occlusion, 5 And, finally, when the VIGOR
without having any details, the 6 trial is cracked in March 2000, if
table just says placebo, coronary 7 you looked at these data
artery occlusion. Dr. Targum 8 objectively, you would say, we've
concluded that was a heart attack 19 got two trials, one 1,000
when, in fact, it wasn't a heart 10 patients, one 8,000 patients, we
attack when we reviewed the /1i don't need any more trials, we
details of this 48-year-old 12 have a problem, we need to have
gentleman. He didn't have any 13 restriction of the use of this
L attack... 114 drug, particularly in patients
me Ew ee SS 15 with known heart disease, and we
16 Q. You adjudicated the 116 need to do the right trials to get
17 individuals yourselves? 1? this drug, which works well for
18 MR. GOLDMAN: Objection. ‘18 arthritis, but it's got this
19 THE WITNESS: We had all the /19 noxious side effect problem, and
2G information, we had the .29 we've got to do something about
21 electrocardiagram, we had the “21 it.
22 angiogram. We had ali the '22 MR. GOLDMAN: Objection,
23 information that isn't displayed /23 move to strike, nonresponsive.
|24 _in this report, and then we knew 24 BY MR. KLINE: oe _
face S71 Page iv
i that it was never -- this patient Q. So, what we're displaying to
2 never had a heart attack. So, he this Jury in terms of this exhibit, Page
3 was miscategorized. And that’s 32 of the Targum memo, what that really

4 Just one example.

5 BY MR. KLINE:

6 Q. But if you look at it no

? matter which way it comes out displaying
8 48, does this study demonstrate anything

is is, youre showing us that there were

a series of patients, for example,

patient 2695, a 63-year-old with
myocardial infarction, you then looked at
each individual --

9 different in terms of a signal when it's A. Yes.
10 combined with the VIGOR study? Q@.  -- made your own
il MR. GOLDMAN: Objection. determination and then calculated the
iz THE WITNESS: The point numbers yourself?
i3 about this is, if one is looking MR. GOLDMAN: Objection.
a

at this with an open mind and THE WITNESS: This was a

Be eet bo
WM Oko Og A UAB ow AP be om OF A a dF

LS... wanting the best for patients, bona fide heart attack, but the —

16 looking at the data and trying to patient that was listed for 2683

17 look at, is there a signal here of with atrial fibrillation. That

18 worry, you would be worried if you was not a thrombotic event. So,

13 were the manufacturer of this drug 1 each one of them required a very
20 or you were the clinical trialist 2 careful review, which we only were
21 doing this drug. You would be 2 able to get that data, you know,

22 worried. And that's data that's 2 of course, late October‘early

23 available in mid-'99. 2 November of 'G4.

24 And you would be even more 24 BY MR. KLINE:

TA fToaeaa qRTRm oT a
i144 (PAGSE safe Lo FD

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An iG bi eye qVesTIN AND Naar Ripert yagnrta

U7 Tis respmse: Tisatltmed po rebabilv tak

Me yess
Pagh 574: Page S761 \atf pet
1 Q. Now, I want to ask you a ; 4 umwillingness to do the right ¥
2 question because it was suggested three, | Z trials, and although their data
3 times in the testimony, - 3 weren't as worrisome, there
é i 4 certainly were some data that were
ofy your other activities to ‘get Merck? 5 conceming.
MR. GOLDMAN: Objection. / 1 6 But the manufacturers of
BY MR, KLINE: i 7 these drugs, and particularly
Qeeiaats what they suogested : 8 Merck, where the data was most
to you. cc 9 conceming, did not do the right
. GOLDMAN: Objecti@n. /10 thing for patients, and that’s the
j i 1a concem.
(12
\ 13
\ 14
\ ils
\ f16
| /17
yp Y Lopoulos. ‘did everything | '18
(Xcould, bent over Hackwards to be { /13
collaborative, and ifs really 1 20
extraordinary to suggest that I °21 back and forth. First ofall, Juni, you
was trying to have an @bjective to /22 pointed out to the Merck lawyer, the Juni
come at Merck in any vray. | :23 article cited the 085 study; correct? ee
I was just iryingtoddthe 0 f  24 | MR. GOLDMAN: Objection.
Pase 57S |
best, what we can with this data foo3 THE WITNESS: Yes, it did.
and for patients, and I think our /  .2 BY MR. KLINE:
work was ultimately validated ‘ 73 Q. It didn’t cite the 090 study
~yexceptionally well. . _ 4 because it wasn't published?
MR. GOLDMAN: ‘Objection, 1 5 A. Interestingl¥, and this was
move to strike the nonresponsive 6 -- ;
portion. " 7 MR. GOLDN{AN: Objection. reexisted
BY MR. KLINE: . &§ THE WITNHSS: We didn't piso aT.
“What was your work a piece 9 mention this befpre, but the study
- oft in this process? What ultimately was LO 090 was cited ithe FDA report
the result here of down the road of what /al and the Geba abbtract, the one
you started, sir? “12 where he only presented the
MR. GOLDMAN; Objection. 13 efficacy with nq safety data at an
THE WITNESS: When we /14 American Geriatrics Society. So,
publi (15 _ there was no paper to reference.
in August a 16 So, he referenced the Targum
that w elionstration 17 report and the aljstract.
in man, in patients, that there 1g BY MR. KLINE:
was a significant problem that was 19 Q. Now, remerpber when you were
requiring further study. So, that 29 back and forth with thy Merck lawyer
started the concer. 21 about when you were jelling him that you
But, unfortunately, it was 22 couldn't show that there was no dose
met with deaf ears al Merck and 23 relation?
with Pfizer with respect to their 24 A. Yes.

i
Le OM pein ¢ é yest

Rute Yo3. vated onepe dit cal

"iS Couati order By Qehdae tn

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| Uoa-lesponswe Lacks foundihne TS Peeps |

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Are Ce a~R ni
‘Vielakee found afar as

5 Abe levinS deatt, po ve et Toal Athel a
NEI connispn dace t's resp + Articles rele “te in a

4

Q. And I think that's what the
points were that were being made;
correct?

A. Yes.

Q. And that it's not dose or

do eters durstinns?

duration depende t, the gist of what you
were © saying was ihat Vioxx is a problem

i

Fage 378 | -

+

Pi exiske

MY Inn

Ap Propriaic
rebuttal
tej mony

MR. GO LDMAN: Objection.
THE WITNESS: Well --
BY MR. KLINE:
Q. And that t was confirmed by
Juni?
MR. GOLDMAN: Objectioy.
THE WITNESS: Yeah. Noj
only did Dr. Js (pay in the papé
that fh€re's no do¥e relationship,
no Suration yelagiowship, but
going bagkNothe importance of
stu £050, remember, that was at a
dose of 12-and-a-hplf milligrams
to see the over sevan-fold excess
of heart attack. So|dose does
not appear to be a vital aspect of

e =the cardiotoxicity.
¥ MR. KLINE:
Q. Andas you told uf earlier
nor does duration?
MR. GOLDMAN: Qbjection

BY MR. KLINE:
Q. It could be short or Idng?

THE WITNESS: We rkviewed
the duration aspects many t\mes
earlier.
Y¥Y MR. KLINE:

Q. Now, the Juni article, I
believe it has a number which it
given: IT have underlined. what Jurk's --

lawyer, but I want to highlight the f\rst
and underline in red. I have it for y
py: here, you can read it to the jury. The
' first line of the “Interpretation,”
that's the bottom line: correct?

A. Yes. That would be the
conclusion of the abstract.

"Our findings indicate that

you went back and forth with the Merck

htop

bop i tt

BBD BM BB bt

Let's talk about statistical
analysis.

As fat as your statistical
analysis is concemed, did you at all
times, sir, conduct 4 statistical
analysis consistent with good and sound
scientific practice?

A. That's the only way I would
know how to do, is to do the best we can
with the data and the statistics and the

| analysis, yes,

Q. Okay.
Was that also Merck's
obligation, to de the same thing?
MR. GOLDMAN: Objection.
THE WITNESS: Any medical
research should be done in that
way, Yes.
BY MR. KLINE:
Q. Okay.
Now, have you had a chance
now to explain adequately what you wanted. |
explained to the jury about the Targum
memo and what you did in terms of
drilling down the data and what you were
after?
A. [believe sa.
Q. Anything else that you think
has to be covered to get the full import
of it out?
MR. GOLDMAN: Objection.
THE WITNESS: Well, I mean,
I think the other points that Dr.
Targum made in her conclusion of
her report about the fact that

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° T's vespmse: lufermapn
- loadin 4 Siang having iwi tin (rl HO Wenriay dacument

/ BM Page 582.
i the -- L it, | agree with it, there's some
| #92 BY MR. KLINE: 2 literature, but it is actually a
A Q. Page? 3 very modest amount of literature.
: A. Page 34, "The sponsor claims : 4 And actually, the most recent data
1 that the difference in heart attacks 5 from 2005, which we didn't have
\ 6 between the groups is primarily due fo : 6 back then, would suggest that
| 4] the anti-platelet effects of naproxen.” i 7 there is an increased incidence of
Oo. Yes 8 heart attacks, but it's not
A. I've already discussed that, ig particularly striking.
that that was an untenable conclusion. '16 MR. GOLDMAN: Objection,
Q. Well, wait. But what does “21 move to strike the nonresponsive
she say? :12 portion.
MR. GOLDMAN: Objection, -13 BY MR. KLINE:
: nonresponsive. :14 Q. And does it explain, does
{BOBBY MR. KLINE: 15 that point explain the results of VIGOR?
Q. Does she say something that 16 A. Wot in any way.
disagrees with you? :17 Q. VIGOR, when combined with
A. Yes. She says, "The -18 090, combined now with all the p—— Asain
hypothesis is not supported by any '13 epidemiologic studies, where does VIGOR aches
prospective placebo-controlled trials “20 fit into the scheme of things? Shoedaed
¥ with naproxen.” “21 MR. GOLDMAN: Objection. thet
Z @. Irs the same thing you told 22 THE WITNESS: The VIGOR was Pyst- dale
us earlier? 723 in many ways the front runner. [Avind
: A. That's nght. a (24 That one is the one that really duth
¥ Fage 533 Face : ,
Q. And she says here, and you i predicted what was gomg to Alic
highlighted this next point or put an 2 happen, not only in the hex rt
(i) asterisk next to it, "The sponsor claims 3 epidemiologic studies, but, of EEG
: that the majority of cardiovascular 3 course, in the subsequent
events in the VIGOR study occurred in 5 randomized trials.
those patients who should have been on é There was one last point in
aspirin for cardioprotection." 7 this report that [ think deserves
And what does she say? a to be underscored, and it says, 5
MR. GOLDMAN: Objection. 9 "The sponsor recommends use of ud
THE WITNESS: Well, this 10 low-dose aspirin in conjunction BP
claim has not convinced this Li with rofecoxib in those at risk a
medical reviewer, it certainly did “12 for cardiovascular events.” f :
not convince me, and so this is 13 There are no data whatsoever mt
not a reasonable conclusion from 14 to substantiate that. Dr. Targum &
BD the data. | 15 _ agrees with that and, again, we're
; BY MR. KLINE 1é talking about millions of patients
Q. She notes that "The sponsor 17 in the United States and beyond,
claims that the patients with rheumatoid 18 and to recommend taking aspirin
arthritis are at increased risk for 18 without having any proof of that,
cardiovascular events.” Z0 without any data, without any
What does she say? 21 meaningful trial, is really, I
MR. GOLDMAN: Objection. 22 believe, unacceptable.
TRE WITNESS: Well, there's 23 BY MR. KLINE:
some literature. She agrees with 24 Q. Moving along.

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a Laces personal Kndviedis vakR SOL | improeet yur Tesnmmy va ded 71 [ae
Voex dotuments tot used in Efoys “2 pDivecp. Be BE VYawo Scoek oF de Sing & oe
Page 586 ‘ Pace 565} Choss,
MR. GOLDMAN: Objection, od ~-- Mev cbs.
move fo strike. 2 (Whereupon, Deposition Counsed
BY MR. KLINE: | 3 Exhibit Topoi-48, "Dr. Topol’s Urs Fyne
¢ | 4 Analysis CV Events in Study 090,” as Chance by
5 Chart (1 page), was marked for AS Re-Civss
1 6 identification.) LON LEPniay
9 7 these ~
_8 BY MR. KLINE: oUumtaty,
Now, did you have access to 9 Q. Okay.
e-mails and the Merck internal '10 Let me show you an exhibit. No. comes ts
‘i MR. GOLDMAN: Tom, you are fe ~ Ee
x at all. In fact, in the :12 not going to be using documents reeale tdi
ew England Journal of 13 you didn't use before. themsedvel
14 MR. KLINE: Well, sure I am. tae
15 You've challenged -- it has Byes
- 16 nothing to do with documents. int erproe hin
j Pot Ly MR. GOLDMAN: Tom, you are MF Thea
move to ‘strike. 3 /18 supposed to limit your redirect to Wo ourec leat,
13 Objection, move to strike, :49 the scope of the cross -- ‘
20 nonresponsive. “20 MR. KLINE: lam. Ws reSAMs& :
21 BY MR. KLINE: (21 MR. GOLDMAN: -- not Defendant
22 Q. Did you presume that the -- 22 introduce new -- te not
23 Was that a presumption on £23 MR. KLINE: I am limiting to eyticd
24 your part, that the findings were 124 show -- you cross-examined him on .
Fage S87. Pege 2837 re ‘ ‘.
Cyaminatw
1 unexpected? whether it was unexpected. I'm Nota
zZ MR. GOLDMAN: Objection. now asking him whether this would
2 THE WITNESS: I don't really change his opinion as to whether Valia
4 know. In retrospect, as you try it was unexpected. D yj Cot in
5 to reconstruct this, you wonder ' 5 BY MR. KLEINE:
6 how unexpected it was. Because if 6 Q. Iwant you to look, sir,
7 you go back to 1999 wath Dr. ' 7 very briefly, [have two documents --
8 Villalba's express concern in the 8 - >>
9 FDA documents that there appears 9 (Whereupon, Deposition
10 to be an excess of clotting ‘10 Exhibit Topol-49, E-mail 3-9-00,
11 events, you wonder how unexpected -id MRK-ABH0016219, was marked for
12 it really was. -12 identification.)
13° BY MR. KLINE: /13
14 Q. Did you know at the time you ee
15 wrote that-whether at the highest levels. — Siang
16 of Merck they were worried that it was a
17 mechanism-based problem when they got the es ZARA fT: 0} jecan
18 VIGOR result? 18 “MR- KEINE: “You cm fave ana. be BS
19 MR. GOLDMAN: Objection. ig objection to save time. MOVE,
20 BY MR. KLEINE: “20 MR. GOLDMAN: I'll abject --
ZL Q. Did you know that at the 2i MR. KLINE: You can have an
22 time you wrote your article? “22 objection, you can fill it in.
23 A. [certainly did not know -23 BY MR. KLINE:
| 24 that. (24 QO. Sir --
148 (Paces 386 to
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aN Hew

~ BEBE? FEsR AAAS Bier DE
Ace, 4 QO CUM CAA “Topol has ed cen

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7 lmprha” epecar deinamy on det Jov/pow Ws réspmse: App HAC
~ LEA Ie Out os ACTH hee Ve Ha]
Page 590° Page 59g regnony
yi MR. GOLDMAN: mi U object to ol about the discussion I earlier
/ bk ay AIS 522d Se ee : 2 pointed out, about open mindedness “ha
i £ Y MR. CLINE: . 3 and looking at the data in an Mecs
\E Q. Sir, this says Edward 4 objective way and not turing Seoinick

5 Scolnick. back -- you know, tuming your

resdAent

“ ..MR. GOLDMAN: I'll object to
this as opinion testimony and

2 anaes af (Whereanon Reposition
\| 9 BY MR. KLINE: 9 Exhibit Topol-50, E-mails, Lab)
}/ 10 Q. Did you know him? /10 MRK-ABC0033809, was marked for
j 11 A. Thad known Dr. Scolnick, P11 identification.) odveed
f]12 yes. i, 12 ---
f}a3 Q. Okay. ‘13 BY MR. KLENE: Kath
i iia He's been described, sir, by °14 Q. Another document, 50, very LAtn2s9 .
} $15 hisown colleagues as unsteady. Did you :15 quickly, sir.
| |16 ever hear that? 116 Again, focusing on Mr.
i |17 MR. GOLDMAN: Objection. 17 Goldman's questions about when you wrote,
i 118 THE WITNESS: I heard that °18 well, it was unexpected and, oh, it was
P 119 a /19 unexpected, you didn’t expect to see it
ORR _— : _20 and nobody expected to see it. Were you
Q. Andin the middle paragraph, ‘21 privy to this document, sir, out of the
I'm going to put a red|marker on here, 22 Merck files from Edward M. Scolnick to
put your eyes to this, knd I'l] hand it 23 Alise Reicin? You know who both of those
to you. . 24 folks are, don't you? voces
\ Page 591_ Page 333
A. Yes. } L MR. GOLDMAN: Objection.
Q. "It's ashame," this is | . 2 THE WITNESS: Yes, I do.
after VIGOR and they had fhe 3 BY MR. KLINE:
4 he wrote, "It's a shame, e, Buff s lquy 4 Q. And right here he says --
incidence ani oe S anddo you know what was gomg on on
6 worried it wa 6 April 12,2000? That was right after the
Di y 7 WVIGOR results were known.
well, it was unexpected to these folks 8 MR. GOLDMAN: Objection.
that there were actually documents in _3 Can I have a standing objection to
their own things that they acknowledged *10 your use of documents that you
that they worried about it\before? “al didn't use before —-
MR. GOLDMAN, Objection. 12 MR. KLINE: There's only
THE WITNESS: {didn't know “213 two, and they go directly, so I
that. ia have a record --
~ BY MR. KLINE: 15 MR. GOLDMAN: ['m sorry...
Q. Incredible, isn't it}+- 16 -- and that the witness has
MR, GOLDMAN,] Objection. “17 never seen before.
BY MR. KLINE: i8 MR. KLINE: -- they go
QQ. -- seeing that docment? 19 directly to this.
: A. It-- 20 BY MR. KLINE:
\ Q. For a person in your “21 Q. You've never seen these, —-5e
position? 22. ee

MR. GOLDMAN: Objection.

THE WITNESS: Weill, that's

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3 RS Rat Soci these. nd.
Q. I'm going to ask you if you

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x Sai BY ss oe eS doce mears Aga Sen er OS pRASON ee abwve
~ bey Scape ve des nae (loss
{ . IM proey Cy pert ex Amaya Fel hy A
/ Page 594 Page $
| 1 would Bay 7é Written that it was unexpected . / 1 documenhwhen you said it was unexpected?
2 in your Néw England Journal if Edward 5 2 A. | dertainly had no access.
| #3 Scolnick, ANse Reicin or Merck had show 1 3 Q. Do ou think you would have
4 you what was\yeally on their minds? If ' 4 written that it unexpected had you
42 you want to -- Myou think you had an | § seen that? Ps
‘6 opinion about scientific misconduct i 6 A. It wouldnt have been :
17 before, wait till you see thisne. | 7 unexpected any longer -- :.
_ scihlie ei Mb COLDNWAN: Objection :
3 BY MR. KLINE: "9 THE WITNESS: -- and you \
f40 Q. /And here fgses. It says / 10 wonder why the trials to follow up
fii here, ryght here, ['j4 on the "Hi Alise” S14 like Dr. Scolnick : is suggesting 24
/Bfa2 thing. i
i rial 4 Q. 10:42 at night. They were ,14 Se and objection, move to
iBiit5 working late those nights. P15 strike, nonresponsive,
| Fae 6 It says here, "I will te /16 BY MR. KLINE:
you," now, remember, this is after they @. Were these studies that you

Bid you ne ) mcr
MR. GOLDMAN: Objection.

M62 BY MR. KLIN
me 2 Q. -- that Eward Scolnick was
i 3 telhng Alise Reicid at 11:00 at night

agony" and that Ins
“WOITy quotient is high"? Did you know
that when you wrote the arf i

send:
1 oO A Om UT

didn't,
BY MR. KLINE:

Q. And look what he said, sir.
He said, "What I really want to do is a
19,000 versus 10,000 patiekt study in
wel4 mild, moderate OA Tylenol Versus Vioxx

5 with PRN low dose ASA for those judged .
who need it. Safety first, prima
endpoint and efficacy second or
co-primary." All caps. "WE WILY. NOT
KNOW FOR SURE WHAT IS GOING ON UNTIL WE

Dope ow OWA wwe

fel fed fa Pe

were suggesting, sir?
A. Well, this would have
helped. In April 2000, to do a trial
like he's suggesting certainly would have
illuminated : a lot of the problems that
were around then.
MR. GOLDMAN: Objection, |

move to strike as nonresponsive.
BY MR. KLINE:

Q. They asked you questions
about whether you, sir, took Vioxx?

A. Yes.

Q. First of all, did you take
Vioxx regularly or did you just take it
intermittently?

A. I took it once a week or
every couple, few weeks. It was very
sporadic. A single dose as needed for
knee pain.

Q. Did you have any special
circumstances that you thought that you

could tolerate the risk?

A. Well, Imean, I started
taking it when I was -- m'99, so, that
was ~- Twas 45. [Thad had an exercise
stress test. I had no risk factors for
coronary disease or heart disease. I'm
fit, so, I dida't think that,
particularly as we leamed more about the
nsk profile of the drug, that I was one
of the people whe would, | think, be

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Page 592 Page 690
1 worried about the risk of the drug : 1 between so-called prostacyclin and
2 relative to an older person with any risk : 2 thromboxane. And we've known about this
3 factors for heart disease. | 3 for 40 years in medicine. And if you tip
4 MR. GOLDMAN: Objection, : 4 that balance and you inhibit thromboxane,
5 move to strike as nonresponsive. | 5 you can inhibit clotting, or you rev up
6 BY MR. KLINE: ' 6 thromboxane, you can have more clotting.
7 Q. By the way, does Merck ‘ 3? On the other hand, if you tip
Geen pwimeostacvclin production or expression
S before you take the drug? 9 you could have just the opposite with
10 MR. GOLDMAN: Objection. /10 inflammation. So, this is this balance.
11 THE WITNESS: No, no, not at /11 And the question is, where would one of
12 all. 12 these COX-2 inhibitors in a trial of
13 BY MR. KLINE: _13 patients with heart disease, where would
14 Q. Are the common users of the , 14 that balance be? Would it be that in
15 drug the chief of the cardiovascular '15 some patients there would be a prevention
16 division at the number one institute for 16 of heart attack, and in others there
17 hearts in America? '17 would be a promotion of heart attack?
18 MR. GOLDMAN: Objection. /18 This is what we didn't know.
19 THE WITNESS: Well, there's -13 But we also knew, and I
20 no recommendations because the '20 tried to make this point earlier but ]
21 drug isn't available now, but, no. “21 was suppressed, that millions of people
22 BY MR. KLINE: 22 with established heart disease were
23 Q. Okay, next. -23 taking Vioxx and were taking Celebrex
24 I want to talk to you about, _ /24 every day. We had this information from _
Page 553. Page G01
1 there was a mention in the testimony, It 1 the Ray paper in Lancet, we had it from
2 was pointed out to you by the Merck 2 other papers that I've cited m my
3 lawyer, that you suggested that it was -- 3 writings, and the important point is that
4 that Vioxx, in your JAMA paper, could : 4 if we have millions of people taking a
5 have an anti-inflammatory effect for - 5 drug, it's already out there and it is
6 patients who had known heart disease. Do 6 being done in arandom way, so, we need
7 youremember that? ' 7 to study this, and we need to get that
8 A. Yes. 8 information as quickly as possible.
9 Q. I want to talk to you about Sg MR. GOLDMAN: Objection,
195 apples and oranges here for a mimute 10 move to strike, nonresponsive.
11 because I think you guys may have been “12 BY MR. KLINE:
12. talking by each other. 12 Q. Okay. Now, and, in fact, in
13 Is there a difference when 13 that regard, you were asked about --
14 you suggest that it has known -- that it 14 MR. KLEINE: How much time?
15 could be-anti-inflammatory as opposed to 15 THE VIDEOTAPE TECHNICIAN...A
1é having these prothrombotic qualities 16 little under 15 minutes.
17 which really cause the problems, and i7 MR. KLINE: Okay.
18 would you explain that whole concept “18 I've got to hustle here.
19 directly and simply, sir? 19 ~ >
20 MR. GOLDMAN: Objection. (20 (Whereupen, Deposition
21 BY MR. KLINE: 21 Exhibit Topol-51, E-mails, TOPOLE
Z2 @. Please. 22 000149 - TOPOLE 000150, was
23 A. So, the problem here, 23 marked for identification.)
24 there's this very important equilibrium 24 ---

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BY MR. KLINE:

Q. You were asked about this
Alastair Wood memo?

A. Yes, yes.

Q. Again, I've got about a

fe dozen things to cover here. Each one is

going te to get a minute. That’ s just the

Page 602 |

“move to strike as  nonresponsive
Can [have a standing objection --
BY MR. KLINE:
Q. Back to the point --
MR. GOLDMAN: Tom, let me
just make an objection? Can !

A. Fine.
Q. There is this Alastair Wood
thing, and let me just put my hand on
what I want to point out to you. You may
know other stuff.
What was the discussion you
‘vere having with defense counsel about,
"as you understood it?
MR. GOLDMAN: Objection.
THE WITNESS: Yeah, I wanted
to bring out the point that one of
the highest regarded trialists,
and in this field in particular,
Dr. Wood, probably the most
revered pharmacologist and
trialists in the country, he

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have a standing objection?
MR. KLINE: Not on my time
on the record.
Yes, you have a standing
objection. Yes, sir.
MR. GOLDMAN: Standing
objection to using documents you
haven't used before?
MR. KLEINE: Yes, su, you
do.
BY MR. KLINE:

Q. The fact of the matter is,
that if f can go back to the -- with
Wood, you and he were back and forth
having a discussion, a scientific
discussion; is that correct?

completely agreed and said that --
about the fact that we needed a
trial and the fact that his
statement he had was really quite
perfect,
Basically he's saying it was
unethical not to do a trial, and
the statement here, he says, "Such
a study would have been undoable
because of the size and time
requirements." This is what Merck
has been saying. And "Tam
surprised that gets repeated so
frequently without challenge from
.the data.” And he basically in
this back and forth e-mail agrees
that there's so many patients that
are getting the therapy today,
Vioxx, with heart disease, that we
have to resolve this problem.
MR. GOLDMAN: Objection.
THE WITNESS: And it was
only -- the irony is that it’s
e@nly ethical to do the trial, not

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A. That's right.
Q. Anything sinister going an,
anything critical going on that was
putting you down or anything bad going
on?
MR. GOLDMAN: Objection.
THE WITNESS: Not at all.
Not at all. We were in total
agreement about what should.2

. i .

Q. Now, Wood chaired the
Advisory Commitee in 2005, I believe,
the FDA Advisory Committee?

A. That's right. He's chaired
all the over-the- counter,
anti-inflammatory, aspirin panels. He's
chaired most of the FDA panels related to
this topic.

MR. GOLDMAN: Objection,
move to strike as nonresponsive.
BY MR. KLINE:

Q. Did the anti-inflammatory

effects which you described and wrote

152 (Pages 692 to

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Page 606.

about at length in the article, picking

that out, Merck's lawyer picking that

out, how does that -- is that an

explanation to Say -- Were you saying to

the Werld, I think Vioxx is safe?

MR. GOLDMAN: Objection.
THE WITNESS: No, t no, no,

THE WITMESS: I -- th
didn't have any nad t ish
and then in 2007, é
was s revised, the

Ul d LG BF oe

LEAD MG

Dowohays the exmertise + i

: g sBbickeoins t

was a \
trial.

y MR’ GOLDMAN: ‘Objection.

13 E WITNESS: Well, I don't
14 w. There is a group at the
15 DA, the label group, package

insert group, but outside of that

:17 small sphere, I don't know that
:18 there's anybody who is better j
mandate for a trial. /1g equipped to review this sort of /
BY MR. KLINE: 26 infonnation than the actual Y

practicing

Q. _Next.

Ydu've tolf’ us the label is 230” 0. Who do they go to, the,
inadequate; cpyrect? \ _. 24 quote labeling group, who do they ask,

MR. GOLDMANA Objection 1 who do they consult with?
THE WITNESS: / 2 MR. GOLDMAN: Objection.
i BY MR. KLINE: 3 THE WITNESS: They do talk
| Q. [think you had a question (4 to physicians. And, you know, |
i about whether you were a, quotk, labeling 5 don't think that there’s any
expert. So, you're a practicing 6 differentiation in the medical
cardiologist: correct? 7 community.
A. That's correct. ~ 8 BY MR. KLINE:
Q. As a practicing ‘ / 9 Q. People like yourself?
cardiologist, and aq a clinician and a . 16 MR. GOLDMAN: Objection.
“41 THE WITNESS: I would think

LDMAN: Objection. Se ee &

ESS: | certainly- Now,-you told me Demopouly:
_1& was concerned about the COX-2
-17 Do you remember?

/BY MR. KLINE:

! Q. And have you made a 18 A. Yes, yes. K ,
Ry determination as to whether the words 19 Q. She was an iniportant person L\ leap We
contained in the document that is given 20 at Merck, and she told you she was ~ .
: to physicians who prescribe it called a ‘21 concemed about the COX-2 program at Berend a
: label, whether those words are 22 Merck, Briefly, do it in a minute, a ; Cope. ter
. Inadequate? CRUE de Sisnyle d
MR. GOLDMAN: Objection. OLDMAN: Objection, Ltoss

| 153 (Pages 6¢

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j ~ ! » oy i * } *
SS Deyoud Siege gr des isnsted CRBS ns VES POViS :

Pramas a. (Adat Li ALS d
KEADVS Avid howd dirsuyher ect Cava Opie o-4 a Risin
Rate TOY wae hoe Be BS pp TRAPS dae Fano le OF Warninw LA .

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Td2-Zdiedatcat

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Page 610}
1 THE WYINESS: Well, she left ' 4 example, here, study 090, the data
2 Merck. She went back to the 1 2 are included in this amalgamation
3 University of Pennsylvania. She | 3 --
4 was very upset about how this i 4 MR. KLINE: I've marked it
5 whole thing was handled, and she 5 as the next exhibit, Number?
6 told me that. i 6 What is it?
7 Dr. DiBattiste also left 17 MR. HAMELINE: 52, 5
5 RTC ee aS eC erree ree ar mama MIRE TNE
9 how all this was handled with the | 9 eo
i0 COX-2 Vioxx program. 19 (Whereupon, Deposition
11 So, both of them related to al Exhibit Topol-52, “Cardiovascular
12 me in conversations that they were (12 Thrombotic Events in Contralled,
13 not pleased about this whole 13 Clinical Trials of Rofecoxib,”
14 clinical development of Vioxx. (14 (Konstam, et al), Circulation
15 BY MR. KLINE: /15 2001;104:r1 5-123, was marked for
16 Q. You were asked repeatedly -- 16 identification.)
17 MR. GOLDMAN: Objection, 117 ---
18 move to strike. 13 THE WITNESS: Yes. This was
19 BY MR. KLINE: 19 published shortly after our --
20 Q. You were asked repeatediy (26 there's a lot of interesting
21 what you knew, what you saw, what you (221 things about this paper. It was
22 didn't have access to. Was your problem ‘22 received on October 2nd and
23 you were having, pure and simply, you /23 accepted the next day and

trying to imierpretit. So, for And this is the thing that's

Ts respmise > (Letak to CauUSanM (borstanns: lpages $20 20 51 -

24 never had full and complete access to the _:24 published very rapidly. Butthe
Page 611 Pag
1 data? “1 paper includes the trials of Vioxx
2 MR. GOLDMAN: Objection. : 2 that were available, and what it
3 THE WITNESS: That's right. . 3 does is it never reports the
4 BY MR. KLINE: : 4 actual individualized data of the
5 Q. Did you ask for it? _5 trial.
6 A. Well, I certainly did. But, 7 6 So, for example, here's a
7 you know, we only were smart enough to 79 chance that since Merck hadn't
& ask for it at times like -- for example, 8 published the data for study 090,
¢ when we wrote the JAMA paper, I-wish we _ 9 why not present it here.
10 had been smart enough to get all the data 19 MR. GOLDMAN: Objection,
11. on study 090 at that time. But we just “il move to strike. |
- -12 BY MR. KLINE: i
o Lame oO: eee 13 Q. They're his consultant, he's |
Fe 4 You told the Merck lawyer _14 their consultant; right’?
| PAS ‘that’you could review the Konstam paper, .i5 MR: GOLDMAN: I'm sorry. ..- .
6 you didn't get to talk about it, Lhave 16 Objection, move to strike, |
5 a7 ithere. Js there a minute or two way i? nonresponsive. i
é #18 through it? 18 THE WITNESS: All the other |
\ 9 A. Yeah. Well, this -- 13 doctors are Merck employees on the
0 MR. GOLDMAN: Objection. 20 paper except for Dr. Konstam, who |
/ ae THE WITNESS: This paper, “21 is a consultant. But the i
he 2 the actual reprint I have, this (22 important thing is, they don't |
a3 bas very significant problems in (23 present the individual trial cata.
dl Za i
i
I
i

\ ™ Paper) Uhich is Nok a tyne

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\ tet CHEV IT | Y }
Bu a | he pas myuny. /
Nee TTS 4Ons Jeep, gic ALA itad oF .

Vielaiy Gury asdet. As Zoe APTVR, Thur PhD (29. Kenstim tmp)

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T's

Same Od, finan s CLM safe Lopspams

PEG fc eG ME

lavins dest reSPME :

Aithefe AY posh:
Sce

PIR ib Wh

Fage 614_

grossly overlooked.

They present, just as Mr.
Goldman reviewed earlier, that
1.69 risk, that's 169 percent,
comparing Vioxx with naproxen.
So, what's striking here is that
they show statistical

abel hott

Le:

I have, sir?

THE VIDEOTAPE TECHNICIAN:
Four minutes.

MR. KLINE: Four minutes.
Anyone who is watching this will
be happy to know that, probably
Dr, Topol the most, who is net
watching but participating.

wD Om Ue tt Be

confirm the VIGOR paper, they
confirm study 090, and they
basically are then trying te
conclude that there isn't a
problem, when it's statistically
significant, 169 percent excess of
risk,
BY MR. KLINE:
Q. How do you do that? How do
you do tat?
MR, GOLDMAN: Objection.
BY MR. KLINE:
Q. How do you get to that
result?
MR. GOLDMAN: Objection.
TRE WITNESS: [just cant _

“PON un Bw Me Oo

TN RM Mie ee ee

ib WM oO WO

Pace €615_
imagine.
BY MR. KLINE:
Q. And this is the same Dr.
Konstam who was an independent consultant
and -- I'm sorry, Dr. Konstam, who was a
consultant, and a member of the DSMB,
which is supposed to be neutral?
MR. GOLDMAN: Objection.
THE WITNESS: That's
correct. On the  apProv ed DSMB.
“O° flow tan that be?
MR. GOLDMAN, Objection.
JHE WITNESS: I don't know.

Coo OR ua as oF

WO

Q. Is that, once agaiti, ie
the coach from one team wearing fp

a2 in B&B i Rob

oo

Po PR pe po be Ro

NM bo oh)
ws GJ Ba be

MR. KLINE: How much un ne dg

TNS

BY MR. KUENE:
@. Iwant to do something
quick.

This whole issue about they
gave you, whether you received or
remembered getting comments from Merck,
and it appears that you now do now that
you were shown a document from four years
ago. Does that change anything here,
sir?
MR. GOLDMAN: Objection.
THE WITNESS: Well, I mean,
I think the important thing is the
reason I had forgotten ever
getting the comments was because
it was after we had already

finalized the paper and the galley
proofs, and so I just never
factored any of thatin. And so I
forgot it because I probably never
even opened up the e-mail, the
attachment, frankly.
BY MR. KLINE:
Q. Does it change your opmions
or your views?
MR. GOLDMAN: Objection,
move to strike, nonresponsive,
THE WITNESS: [It doesn't
change my views whatsoever. That
1s completely immaterial.
BY MR. KLINE; |. ve,
Q. Did they come out to see you
anyway, met you face-to-face? Did you ry
eve them an audience?

, ey 4
QO. Sir, I wan to again -- . |
]

1 RAD VE

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Page 616i

Page cz
i audience? 1 @. It takes much less to get a
2 | 2 letter published; correct?
3° W ation and meet with Mr j 3 A. Less, but it's still not
4 Gilmeft, meet with Dr. Kim. They | 4 easy, yes.
5 wouldn't even allow me to go visit. i 5 QQ. They didn't publish his
“MR. GOLDMAN: Objection. 7 A. That's right.
—— Eee 8 0 Now whatyou weren't shown
9 Q. Do you think so? : 3 by Merck -- by the way, have you ever
10 A. Idon'tknow. They didn't , 10 heard the term, sir, "cherry picking
11 want to talk about it. /12 data"?
12 Q. Two more areas, and they are 112 MR.. GOLDMAN: Objection.
13 going to both be about two minuies, I 13 THE WITNESS: Yes, I
14 promised counsel, '14 certainly have.
15 The first one is Temple. i 15 BY MR. KLINE:
16 A. Yes. 116 Q. And “cherry picking
i7 Q. They showed you one letter, /17 documents"?
12 that letter that the editor -- where :18 A. Yes.
13 Temple was critical of you. Do yeu 19 Q. When you were examined here
20 remember? (20 today, sir, did you see some of that
21 A. Yes. -21 right before your eyes?
22 Q. Ali nght. 22 MR. GOLDMAN: Objection.
23 First of all, that letter /23 JHE WITNESS: Some of the
24 was submitted to JAMA; correct? 24 best exampies I've seen inmy -
Page 619 Pace §2Z1
1 A. And it was rejected by JAMA. 1 career were today, yes.
Zz Q. It wasn't even an article? "2 BY MR, KLINE:
3 MR. GOLDMAN: Objection, 3 ©. When yeu were asked
4 move to strike, nonresponsive. . 4 questions by Merck; correct?
5S BY MR. KLINE: 5 A. That's correct.
& Q. It was a letter: correct? : 6 MR. GOLDMAN: Objection.
7 A. That's right. ogectocopemrad Bx KLINE:
8 --- BER “0” “tWas that exemplar of the
g (Whereupon, Deposition 9 kind of conduct that you also saw with
10 Exhibit Topol-53, Letter °10 them in their clinical trials, sir?
ii 12-17-01, TOPOLE 6000311, was il MR. GOLDMAN: Objection.
12 marked for identification.) 12 THE WITNESS: Well, what
12 --- “13 is is an ice pick view of the data
i4 BY MR. KLINE: '14 and not looking at the textur
15° ©. Hesends a letter to JAMA. 15. ,
16 and JAMA sends him back a polite letter 16
17 saying no thanks; correct? i?
18 A. That's right. ‘18
i9 MR. GOLDMAN: Objection. 19 BYM NE;
20 BY MR. KLINE: 26 And in fact, early on, sir,
21 Q. It takes a lot to get an 21 were you about as tepid and about as --
22 article published in a medical jourmal (22 tepid ts the wrong word. :
23 like JAMA; correct? 23 Were you about as open Cauty of lu
ZA A. That's correct, 24 minded as vou can be when vou wrote that Y faut in
156 [Pages 613 to fo i hme yerad
405 d92cdAdda-4rBST-BTd2-73iadalcafef \"
Un kagare

2 gces fomdqhan.

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Page $22 Page 024

when you -- in his testimony, and
you wouldn't show it to him, but
you have an objection.
BY MR. KLINE:
Q. Yes, sir.
Tell us what this document
said and what the gist of this was --
A. Well, L was --

JAMA article in 2001?
A. Basically we tr

Q. -- what I call the full
story?

et rot nom 18 “ea. A. Right. Thad tried to
Co 12 BY MR. KLINE: °12 introduce this earlier, because it was
13 Q. Temple wrote to you -- I '13 that ice picked view, if you want to talk
14 have this, and I have one more document | 14 about cherry picking one letter or one
15 and I'm done. :15 sentence. But here was a letter of my
16 --- L6 response to Dr. Temple addressing al! of
1? (Whereupon, Deposition .17 his concerns. And then he responded to
18 Exhibit Topol-54, Letter 1-7-02, .18 me yet again.
19 TOPOLE 0000456 - TOPOLE 0000457, 19 @. Oh, yeah.
20 was marked for identification.) .20 MR. GOLDMAN: Objection.
21 77 /24 THE WITNESS: And this was a
22 BY MR. KLINE: (22 very important short letter that
23 Q. Temple wrete to you a 23 he sent me.
(24 letter, correspondence, and you wrote /24 BY MR. KLINE: a -
Pace €25
1 back to him? 1 Q. Is that the letter where he
2 A. Yes. 2 said, "Dear Eric," Exhibit Number --
3 Q. You had a good relationship 3 MS. DAGOSTINO: 55.
4 with Temple? 4 --+-
5 A. Anexcellent relationship 5 (Whereupon, Depasition
6 with Dr. Temple. 6 Exhibit Topol-55, Letter 2-5-02,
7 Q. De you stil? 7 TOPOLE 0000442, was marked for
8 A. [haven't talked to him ina 8 identification. }
9 while, but I hope so, yes. 9 ---
10 Q. Did you have a healthy, if BY MR. KLINE:
11. constructive-type, scientific dialogue il Q. -- 55. "Thanks for the
12 with him? 12 note. ] assure you I am not a devotee of
13 A. Yes, we did. -13 the ‘naproxen is good, we're not bad’
14 8 And was it an open dialogue? 14 hypothesis. But as a card-carrying
15 AL. Yes, it was. “35. empiricist, 1 am not prepared to
16 MR. GOLDMAN: Tom, can | _16 guarantee that all COX-2 selective agents .
1? have a standing objection to the .17 are the same, any more than all
18 use -- -18 non-selective NSAIDs are. just thought
13 MR. KLINE: Yes. 19 using the meta-analytic placebo data was
20 MR. GOLDMAN: I'm sorry. '20 beyond 'strained’ and inappropriate. I
ai -- to the use of a document 21 sttil do."
22 that you never used before. 22 So, vou and he have a
23 MR. KLINE: Yes. But it's 23 difference of agreement?
24 the document that he asked to see 24 A. Yes.
157 ‘Pages $22 te 625)
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Page 626} rage 628
L And he goes on to say, i 3 THE WITNESS: Right. And]
2 "You're correct, of course, about the 2 was --
3 Merck study,” which is the VIGOR trial we : 3 BY MR. KLINE:
4 wrote about. : 4 Q. And your bottom line was,
5 And Dr. Temple has said to - 5 "Only more data will get the answer," and
6 me before he wrote this letter, since : 6 that was his bottorn line?
7 this Setter, that he was very worried 7 MR. GOLDMAN: Objection.
about the VIGOR trigl and I had 8 THE WITNESS: That's right.
9 expressed to him I was surprised that the 3 But he had more of a way to push
10 FDA didn't do more, knowing their 110 for it than I did.
11 concems. :11 BY MR. KLINE:
12 MR. GOLDMAN: Objection, '12 Q. Yes, because he's in the
13 move to strike, nonresponsive. ‘13 FDA?
14 BY MR. KLINE: 114 MR. GOLDMAN: Objection.
15 Q. Hang onasecond. He said -15 THE WITNESS: Yes.
16 -- put that right back in front of you. °16 BY MR. KLINE:
17 It's now up in front of the jury. 217 Q. Youre sitting out here in
18 He said two things to you. :1@ Cleveland?
15 Heis "not a devotee of the ‘naproxen is “1s A. Right. And we have no
20 good, we're not bad" thing. That's one ‘20 authority, and we did the best we could.
1 thing he told you; correct? :22 Q. Right. Voice in the
22 MR. GOLDMAN: Objection. '22 wildemess?
23 THE WITNESS: That is 23 MR. GOLDMAN: Objection.
24 basically like I was saving, the _.24 BYMR.KLINE: 4
Page 627. Page 623
1 naproxen hypotheses is untenable, 1 Q. Correct?
2 BY MR. KLINE: : 2 A. That's correct.
3 Q. Right. Is it a correct : 3 Q. Voice in the wildemess.
4 position to be a devotee of the naproxen : 4 MR. GOLDMAN: Objection.
5 hypothesis, sir? . & BY MR. KLINE:
é MR. GOLDMAN: Objection. 6 Q. Last point, very last point.
7 THE WITNESS: I was 7 ‘This is the jast thing, I promise. It’s
8 surprised by the term. - 8 four, five, six questions, and go over
9 BY MR. KLINE: _ 9 ahalfa minute, and here it goes.
14 Q. Would those people be °16 You talked about Pasternak,
11 somewhere in the -- if you're a devotee, _1L you were cross-examined about Pasternak.
12 would that be someone who is looking in ‘22 Remember that?
13 the wrong direction for the answer? -23 MR. GOLDMAN: No, he wasn't.
14 MR. GOLDMAN: Objection. .14 MR. KLINE: Yeah. It came
15 THE WITNESS: Well, I mean, As up during the examination.
16 that's certainly one 16 MR. GOLDMAN: No, it didn't.
17 interpretation. i? MS. DAGOSTINO: He mentioned
i8 BY MR. KLINE: 18 it during direct. Tt took --
1? Q. And he says here, "You're “is MR. GOLDMAN: You mentioned
20 correct...about the Merck study.” The “20 it, 1 didn't.
21 bottom line of the bottom line of the 2i MS. DAGOSTINO: We could not
22 answer back to you is, “Youre correct... 22 get this document.
23 about the Merck study." Correct? 23 THE VIDEOTAPE TECHNICIAN: I
24 MR. GOLDMAN: Objection. Z4 need to change the tape.

626 to 629)
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“)

Page 630 Page 632 /
4 MR. KLINE: Oh, this is the (4 Q. It wouldn't surprise you,
2 document we couldn't get. This is 2 would it?
3 the document we couldn't get. 3
4 Yes, change the tape, 4
5 please. 5
6 THE VIDEOTAPE TECHNICIAN: 6
7 Off the record at 7:09. 7 mye
8 = - : 8 counsel, to Peter Kim, the chief of the
9 (Whereupon, a recess was > 9 Merck Laboratones. see, they were
10 taken from 7:09 p.m. until 7:11 10 reading. How about that?
13 p.m.) AW WSet:B0G8:) mee vere aeeigas
12 --- 120 MR, GO BMEAN: Objectioke as
13 THE VIDEOTAPE TECHNICIAN: “13 ee
14 Back on the record at 7:11. 14 (Whereupon, Deposition
15 MR. KLINE: Here we go. 15 Exhibit Topol-56, E-mails,
16 We'll give it to you in a second. -16 MRK-AACO152575 - MRK-AACO152576,
17 We'll give it to you like when “17 was marked for identification.) ~
1 Merck would give it to you. Same ‘18 --- }
19 thing. ede euch: pee / .
20 BY MR. KLINE: fa haces
21 Q. Sir, do you remember that 21 Ey Fousd4 hon
{22 you testified -- this is my last area of /22 find
‘ve heard :23

fel niet

34 knowles
\ oF examination, and we couldn't find this 1 io you, and we'll give it to the N igs .
document, that on the day of the 2 Merck pw ye er. 5 respms .
withdrawal of the drug, September 30, ecteuss eoCaT TRE Sta bcynen F
‘04, you received a call from Richard Ae ction’ io you using a document A wt
i Pasternak at Merck, and he said to you, 5 that was never used before? by g lan
Q you were night. 6 MR. KLINE: No. It was used of : an
MR. GOLDMAN: Objection’, 7 on direct, and we had said and IL Aa Sta femen
BY MR. KLINE: 8 agreed that it was part of the OF admisonr
: Q. Do you remember? 9 Pastemak thing. We couldn't get tha + Dv
f A. remember it very well. 10 it printed or found. } 7 ’
j Q. Okay. 12 i ng your 0f0 | wat
i Did you know whet) [12 dire Vv ah tA na
i was actually confirmation off ‘13 4 ache is adwrissip)
: you in’Merck documents? /14 withyor will take my changes ac a Sty
| RE “415 that a judge will --
"16. .. MS.DAGOSTINO: Youbrought | vy a
4 have know dt. Tw ; :17 the name up during direct.
4 any access 18 MR. KLINE: I did. We party
i BY MR. : 19 couldn't find the document then. O Pp Pate nt.
it Q. Okay. 20 It's one document. -
Now, your editorial in the

:21 BY MR. KLINE:
New York Times, sir, was forwarded around 22 Que as
23 at Merck. Did you know that? i The e-mail says -- this is a

24 A. [had no idea of that. 24 couple of days after you talked to him.

an

: 159 (Pages 636 to
? Ate Sefton s Pbowd ALR. Bey mt Lae Ce ye

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me De RAS ie 4 Cpe Toh ,

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(alt vw} Parshenna k {3 treclevayy, vn ERD pRcpact cra’ and Violsjes fan Couaps

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, CA peravit rf otcunel aba iAuin died |
‘ New Sam Cine twinge YT ALAS &

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Page 6

gratifying to see that at least one
person at Merck was positive and open-

MR. GOLDMAN: Objecti
move to strike:

i
2
3
4
‘& 5 seomed.
6
7
8

fis Q.

not going | to ask any questions --

*O.

The: wrath of al aver” --

15 going to do me the courtesy of

16 allowing me to ask some followup
17 questions?

18 MR. KLINE: No, sir.

19 MR. GOLDMAN: What?

20 MR. KLINE: No.

21 MR. GOLDMAN: Then you are

Aor oD ND
ta hI or

up.
BY MR. KLINE:
Q. "The wrath of a lover"

It's six minutes over.
BY MR. KLINE:

is up,

4 "The wrath of a
FSO scomed. “Instead ofat

baseline ee Erit)

two reasons: veople listen to him."

rf

‘That's. you? <7
MR. GOLDMAN: Objection.

BY MR. KLINE:

Q. (2) we," Merck, “have
something to learn."

A. Uh-huh.
2 MR. GOLDMAN: Objection.
(32 BY MR. KLINE:
3 Q. Did you know that existed?
r4 A. Thad no idea. It's

MR. GOLDMAN: Tom, your time

OO ~) HUW

‘page 635
MR. GOLDMAN: Your time is

Pm it wa

hh) Mo Ba
is Gl Bo

15
16
1?
18
19

| 2 g4dat

= Fein diM on

. GOLDMAN: Tom, you are

THE WITNESS: They didn't
listen to our concems for years.
/ _MR. LINE: Thank you, sir.

1

3 Topol, 2 are every y colorful at Merck. ‘They i 3 minded.

4 pride themselves on colorful e-mails. ; 4

5 MR. GOLDMAN: Tom -- 5

6 BY MR. KLINE: ; 6 BY MR. KEL
7 Q. And - 9

3 MRE COLDMAN- Tom -- 8. befére the deu
9 MR. KLINE: Yes, sir. | 9
10 MR. GOLDMAN: Let me :10 er.
11 interrupt you. You are six il
12 munutes over. “42
13 MR. KLINE: Yes. (13
14 MR. GOLDMAN: And are you -

MR. GOLDMAN: “Objection ™
move to strike as nonresponsive.

MR. KLINE: Thank you for
being of assistance.

MR. GOLDMAN: Because Mr.
Kline asked questions about
documents and brought up issues
that were not brought up on my
cross, I do have some questions

_ about Mr. Kline's additional _

areas. Can I ask --

MR. KLINE: The only area
that I brought up that you didn't
cover was this area with
Pastemak, and you are correct,
that you have -- that at least in
my view, I don't know what Merck's
counsel's view is, you have a
tight to cross-examine there.
Everything else was within right
square in the scape of redirect.

But I do agree on the
Pastemak memo, the lover scorned
memo, the "you were right memo,"
that you haye a right to question
if you'd like to.

MR. GOLDMAN: fs that the
only area you're going to alow me
to --

MR. KLINE: Yes, absolutely.

MR. GOLDMAN: -- ask some
questions about?

MR. KLINE: Yes, absolutely.

MR, GOLDMAN: Is that true

~ Meanie

j fae or q

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Pase 639 Page 640
1 tor Dr. Topol's counsel too? : 4 fimish.
2 MR. HAMELINE: We're here 2 MR. KLINE: I'm sorry. I
3 becanse we were subpoenaed. We're : 3 thought you were done, Andy. |
4 not part and parcet of the rules i 4 apologize.
5 and regulations in the MDL. If i 5 MR. GOLDMAN: No.
6 you want to go ahead and ask about i 6 And testimony about those.
7 Exhibit 56, why don't you go (7 MR. KLINE: Those exhibits
g abead Li's get those questions _ 8 were merely redirect of areas
3 on the record, and then we'll take 1 g which were left wide open, and
10 a break and talk about whatever 10 each occasion I basically said,
11 else you want to ask about. But :11 Dr. Topol, you were shown this but
12 itis 7:15. It's been a very long :12 you weren't shown that.
13 day. 13 In the case of the Temple
14 MR. GOLDMAN: I'm not going 14 letter, he himself said, may I
15 to talk about Exhibit 57 or /15 show you the Temple letter.
16 whatever the -- 216 In the case of the Targum
17 MR. HAMELINE: 56. :17 memo, he said, | want to talk
18 MR. GOLDMAN: 56. But there /18 about the Targum meno.
13 are several other documents and .19 In the case of -- you made a
20 several other things that Dr, 20 big point that he, himself,
21 Topol said that I would like to i21 conceded that they were
22 get into, and we can raise this ‘22 unexpected, and the fact of the
23 with the judge later, but I'm (23 matter is, that they were
24 ____going to object to most of Mr. 24. documents that Merck had that he _
Page 639. Page 641
1 Kline's examination as beyond the 1 had never seen, which, frankly, I
2 scope, and until Ihave an Z had to impeach him on and change
3 opportunity to do recross, and 3 lus opinion that he would have
4 that may have to happen at a later 4 known -- he only wishes he knew
5 time, so, I'm going to leave the 5 differently.
6 deposition open. : 6 So, Lrespectfully, Andy,
7 MR. KLINE: I'l take my “7 disagree with you. In my view,
8 chances with the judge. 8 we're done. If you think you can
9 Everything is within the fair 9 convince a judge to the contrary,
16 scope of cross-examination -- “16 I guess it will be on my dime to
il redirect. We're done. 11 come back to Cleveland. But I'm
12 MR. HAMELINE: Do you want “12 done. .
13 to make a proffer as to what (13 Dr. Topol, thank you, sir.
14 documents you would ask about or 14 MS. VANCE: Is there
iS. . what topics they are’. oe 15 anything else, Andy?
16 MS. VANCE: Let's have a 15 MR. GOLDMAN: Nothing else. —
1? list of what the -- 17 MR. HAMELINE: Again, we're
18 MR. GOLDMAN: Each of the 18 here because we were subpoenaed.
i9 exhibits that Mr. Kline used in “13 We're a third party. I don't want
29 his redirect that he did not use 20 to be involved in the dispute over
21 in his direct examination. 1 timing and issues. } see what's
22 MR. KLINE: Those exhibits -22 in the court order, and I guess
23 were clearly -- 2 i's an issue of whether the judge
24 MR. HAMELINE: Let him 24 is going to let the additional

i

ic Pe . -oo - aac
Lol (PAGES 636 to S44

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Page 642° Page 644
1 redirect in or not. That's the ‘4 ACKNOWLEDGMENT OF DEPONENT
2 way I look at this. So, : 2 I, , do
3 therefore, I think we're done. - 3 hereby certify that I have read the
4 It’s been a very long day. ' 4 foregoing pages, 1 - 642, and that the
5 MR. KLINE: Thank you, sir. ' 5 same is a correct transcription of the
6 MR. HAMELINE: Thank you : 6 answers given by me to the questions
7 very much. / 7 therein propounded, except for the
g MR KLINE. Thank you for 8 corrections or changes in form or
9 your cooperation. Dr. Topol, ; 9 substance, if any, noted in the attached
10 thank you. : 10 Errata Sheet.
11 We're off the video record. -ii
12 THE VIDEOTAPE TECHNICIAN: :12
13 Off the record at 7:18. :13
14 --- “14
15 (Whereupon, the deposition :15 ERIC J. TOPOL, M.D. DATE
16 concluded at 7:18 p.m.) 16
17? --- :17 Subscribed and swom
138 :18 to before me this
19 :19 day of » 29
20 20
21 -21i My commission expires:
22 122
23 23
24 :24 Notary Public oo
Page 643 Page C45
2 CERTIFICATE oy
3 2
4 L LINDA L. GOLE GW, a Notary 3
Public and Certified Shorthand Reporter
of the State of New Jersey, do hereby 4
certify that prior to the commencement of =
68 the examination, ERIC J. TOPOL. M.D. was ~
duly sworn by me to testify to the truth, S
2? the whole truth and nothing but the 4
truth.
a a
3
1 DO FURTHER CERTIFY that the
1G foregoing is a verbatim transcript of the “140
teslimony as taken stenographicaily by
12 and before me at the time, place and on . 11
the date hereinbefore set forth, to the 12
12) besi of my ability. .
13 13
14 i OO FURTHER CERTIFY thatlam 14
neither a relative nor emplovee nor
15 atlomey nor counsel of any of the 15 _
Parties ta thts action, ard that ] am 16
16 neither arelative nor employee of such
attomey or counsel, and that 1 am nat 17
27 financially interested in the action.
1a 18
19 ls
ai
(20
21 LINDA L. GOLKOW, CSR 2i
Notary Number: 1060147 5
22 Notary Expiration: 1-2-08 22
CSR Number: 30X91] 76200 ZR
oa 24
162 ‘Pages 642 to 6453

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PAGE LINE CHANGE |

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LAWYER'S NOTES
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